Case 4:20-cv-00957-SDJ   Document 688-2 Filed 11/25/24   Page 1 of 228 PageID #:
                                    31260




                         EXHIBIT A

                    (PREVIOUSLY
                    FILED AS ECF
                        673-3)
Case 4:20-cv-00957-SDJ Document 688-2 Filed 11/25/24 Page 2 of 228 PageID #:
                                  31261
           HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


                               UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF TEXAS
                                    SHERMAN DIVISION




 The State of Texas, et al.,


                               Plaintiffs,


                        vs.                          Case No. 4:20-cv-00957


 Google, LLC,



                               Defendant.




                   EXPERT REPORT OF ITAMAR SIMONSON, PH.D.

                                             July 30, 2024
Case 4:20-cv-00957-SDJ      Document 688-2 Filed 11/25/24 Page 3 of 228 PageID #:
                                       31262
                HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER

                                                  TABLE OF CONTENTS

 I.     BACKGROUND, QUALIFICATIONS, AND ASSIGNMENT .......................................1
        A. Background and Qualifications......................................................................................1
        B. Assignment ....................................................................................................................6
 II.    SUMMARY OF CONCLUSIONS ......................................................................................7
 III. INTRODUCTION ..............................................................................................................14
      A. Overview of Survey Design .........................................................................................14
      B. Sample Selection and Survey Administration .............................................................20
 IV. HIGHER-SPEND ADVERTISER SURVEY ...................................................................24
     A. Overview ......................................................................................................................24
     B. Methodology ................................................................................................................25
        1.   Survey Universe and Screening Criteria .............................................................25
        2.   Main Questionnaire.............................................................................................35
     C. Survey Findings ...........................................................................................................50
     D. Key Implications of the Findings .................................................................................68
 V.     LOWER-SPEND ADVERTISER SURVEY ....................................................................71
        A. Overview ......................................................................................................................71
        B. Methodology ................................................................................................................72
           1.   Survey Universe and Screening Criteria .............................................................72
           2.   Main Questionnaire.............................................................................................76
        C. Survey Findings ...........................................................................................................81
        D. Key Implications of the Findings ...............................................................................101
 VI. AD AGENCY SURVEY ...................................................................................................103
     A. Overview ....................................................................................................................103
     B. Methodology ..............................................................................................................104
         1.  Survey Universe and Screening Criteria ...........................................................104
         2.  Main Questionnaire...........................................................................................108
     C. Survey Findings .........................................................................................................110
     D. Key Implications of the Findings ...............................................................................127




                                                                     i
Case 4:20-cv-00957-SDJ     Document 688-2 Filed 11/25/24 Page 4 of 228 PageID #:
                                      31263
               HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


 preparation of this report under my direction and supervision. My compensation is not dependent

 in any way on the outcome of this litigation.



         B.       Assignment

         13.      I was asked by counsel for Google, LLC (“Google”) to conduct surveys designed

 to examine how advertisers at companies and advertisers at ad agencies (collectively,

 “advertisers”) approach, manage, and evaluate digital advertising and, in particular, display

 advertising and programmatic display advertising.4 Specifically, I was asked to address the

 following issues:

                       a. identifying considerations that are relevant for advertisers’ budgeting

                           decisions, including how and where they allocate advertising spending;

                       b. examining advertisers’ potential reactions to changing display advertising

                           costs;

                       c. examining advertisers’ use of ad buying tools for programmatic display

                           advertising;

                       d. identifying methods that are implemented by advertisers to assess

                           advertising performance;



 4
     As described in more detail below, “display advertising” was defined to these survey participants as: “digital ads
     made up of text, image, video, and/or other multimedia components that typically appear along the top or sides
     of a website, or sometimes in the middle of other content on a website. Examples of display ad formats include
     banner ads, animations, and interactive content. Display ads do not include ads placed on social media platforms.”
     As described below in paragraph 52, these definitions were created for purposes of these surveys only, in order
     to test—among other things—the degree to which advertisers viewed certain types of ads, including ads placed
     on social media platforms, as substitutes for other types of display ads. I did not conduct a survey to determine
     how advertisers use the terms “display” or “social.” In the Higher-Spend Advertiser Survey and Agency Survey,
     “programmatic ads” were defined as: “ads that…are transacted and fulfilled using automation. In programmatic
     transactions, the price of each impression is typically determined in an auction conducted automatically before
     the impression is served.” As discussed in more detail below, because lower-spend advertisers might not regularly
     differentiate between programmatic and direct deals transaction methods, I did not refer to programmatic ads and
     instead asked about display advertising more generally in the Lower-Spend Advertiser Survey.

                                                          6
Case 4:20-cv-00957-SDJ       Document 688-2 Filed 11/25/24 Page 5 of 228 PageID #:
                                        31264
                 HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


                         e. examining use of advertising agencies by advertisers at companies; and

                         f. examining advertisers’ sophistication and use of experiments.

           14.       The documents that I relied upon in connection with my work in this matter are

 listed in Appendix C.

           15.       My analysis may change before trial if additional information from any of the

 parties or their experts becomes available. I, therefore, reserve the right to supplement my report

 accordingly.


 II.       SUMMARY OF CONCLUSIONS

           16.       The three surveys described in this report examined how advertisers manage,

 monitor and make decisions concerning digital advertising, in general, and programmatic display

 advertising, in particular. The participants were involved in making decisions concerning digital

 advertising on behalf of their companies (or clients in the case of ad agencies). The final tabulated

 samples included 502 “higher-spend advertisers” (spending over $500,000 annually on

 advertising), 302 “lower-spend advertisers” (spending less than $500,000 annually on advertising,

 including 138 advertisers who spend less than $50,000 annually on advertising), and 381

 respondents from advertising agencies, all of whom were based in the U.S.

           17.       The surveys were designed to determine advertisers’ actual choices and

 considerations, as well as their evaluations of alternative advertising buying tools and the manner

 in which they assess the cost effectiveness of these tools. In addition, participants were given a

 scenario and asked to indicate how they would respond in case the cost of programmatic display

 advertising increases by “a small but significant amount.”5



 5
       This phrase was designed to leave it to the respondents to consider their reaction, if any, if (what they consider to
       be) “a small but significant” increase in the cost of programmatic display advertising occurred. See paragraph 65.

                                                              7
Case 4:20-cv-00957-SDJ      Document 688-2 Filed 11/25/24 Page 6 of 228 PageID #:
                                       31265
                HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


          22.      Prior to designing the survey questionnaires, I arranged for 14 preliminary

 interviews to be conducted with advertisers with a range of different spending levels as well as

 with ad agencies to explore some of the topics the survey would ultimately examine.9 The

 interviewer was an employee of Analysis Group who was on the team which assisted me with the

 surveys. I listened to all of these interviews.

          23.      To obtain live reactions from interviewees while answering the questions,

 respondents were given the following instructions:

                   When answering, please give as much detail as possible. However, if you
                   do not know the answer, that is okay -- just let me know.

          24.      This technique is known in the scientific literature as “think-aloud protocols,”

 which has advantages and some limitations in terms of capturing respondents’ understanding and

 interpretation of the questions in real time.10 I used the feedback and responses of the interview

 participants to inform the development of the survey questions.

          25.      In designing the survey questions, it was important to recognize potential

 differences between different groups of advertisers that might affect their understanding of certain

 industry-specific terminology or otherwise affect the question phrasing. Ultimately, I designed

 three survey questionnaires tailored to different groups of respondents: “higher-spend advertisers”

 spending more than $500,000 on advertising in the past year (the “Higher-Spend Advertiser

 Survey”), “lower-spend advertisers” spending less than $500,000 on advertising in the past year

 (the “Lower-Spend Advertiser Survey”), and individuals at ad agencies (the “Ad Agency


 9
      The initial interview participants were members of the same Advertiser Perceptions panel (described below) that
      was used for the online surveys. To avoid overlap, I requested that respondents who participated in the
      preliminary interviews not be invited to participate in the subsequent surveys. See Appendix D for the discussion
      guide used during the preliminary interviews.
 10
      For a review, see, e.g., Robert Crutcher (1994), “Telling What We Know: The Use of Verbal Report
      Methodologies in Psychological Research,” Psychological Science, Vol. 5, No. 5, pp. 241-248; see also Itamar
      Simonson (1989), “Choice Based on Reasons: The Case of Attraction and Compromise Effects,” Journal of
      Consumer Research, Vol. 16, pp. 158-174.

                                                          16
Case 4:20-cv-00957-SDJ      Document 688-2 Filed 11/25/24 Page 7 of 228 PageID #:
                                       31266
                HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


 to what is known as “focalism”20 and possible “demand effects.”21 Thus, respondents were

 informed only at the conclusion of the survey about its sponsor and were given the option to

 indicate that their responses should not be included in any statistical or other analysis of the

 findings, which was implemented accordingly (i.e., I have not received any information about their

 responses and those responses are not included in the results described in this report or any other

 analysis).22

          28.      After developing the survey questionnaires, I subsequently arranged to conduct a

 dozen additional interviews, or “pre-tests,” of the questionnaires.23, 24 Instead of think-aloud

 protocols, participants in these subsequent pre-test interviews completed the survey on their own,

 but they were asked a few additional questions at the conclusion of the survey. The questions were

 the following:

                       Did you have any problems or difficulties taking the survey?

                       Did you think any questions were unclear? If so, which ones and why?

                       Did you think any answer options were unclear? If so, which ones and why?



 20
      See, e.g., Timothy D. Wilson and Daniel T. Gilbert (2003), “Affective Forecasting,” Advances in Experimental
      Social Psychology, Vol. 35, pp. 345-411, at pp. 366-369. See also Daniel Kahneman, et al. (2006), “Would You
      Be Happier If You Were Richer? A Focusing Illusion,” Science, Vol. 312, pp. 1908-1910, at p. 1908; David Gal
      and Itamar Simonson (2020), “Predicting Consumers’ Choices in the Age of the Internet, AI, and Almost Perfect
      Tracking: Some Things Change, the Key Challenges Do Not,” Consumer Psychology Review, Vol. 4, No. 1, pp.
      1-18.
 21
      See, e.g., Itamar Simonson and Ran Kivetz (2012), “Demand Effects in Likelihood of Confusion Surveys: The
      Importance of Marketplace Conditions,” in Trademark and Deceptive Advertising Surveys: Law, Science, and
      Design, Chapter 11, Shari S. Diamond and Jerre B. Swann, Eds., American Bar Association, pp. 243-259, at p.
      243. See also Alan G. Sawyer (1975), “Demand Artifacts in Laboratory Experiments in Consumer Research,”
      Journal of Consumer Research, Vol. 1, No. 4, pp. 20-30, at pp. 20-21.
 22
      As described later, the surveys did not include a “Back” button and disabled the “Back” option in respondents’
      browsers. See Appendix F.1, at F.1-2. Therefore, respondents were not able to change their previous answers
      after being informed about the survey sponsor.
 23
      Specifically, five pre-tests of the Higher-Spend Advertiser Survey questionnaire, three pre-tests of the Lower-
      Spend Advertiser Survey questionnaire, and four pre-tests of the Ad Agency Survey questionnaire were
      conducted. Pre-tests can help determine whether survey questions were clear and unambiguous.
 24
      See, e.g., Bradburn et al (2004), at p. 317 (“[A] pretest will help you determine if the questionnaire is gathering
      the data you need and whether it is convenient and clear for respondents to fill out. Additionally, a pretest will
      often suggest problems you were unaware of, and it can help you avoid costly mistakes.”).

                                                           19
Case 4:20-cv-00957-SDJ      Document 688-2 Filed 11/25/24 Page 8 of 228 PageID #:
                                       31267
                HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


                       Did any questions in the survey make you feel that you should answer one way

                        or the other? If so, which ones and why?

                       What do you think might be the purpose for conducting this survey? What

                        makes you think so?

                       Is there anything else you would like to say about the survey?25

          29.      Overall, the results of these pre-test interviews indicated that, consistent with my

 prior experience with similar survey questions, the questions in this survey were clear, and

 respondents encountered no difficulties understanding the questions.26

          B.       Sample Selection and Survey Administration

          30.      All surveys were administered via the Internet in September and October 2023.

 The samples of advertisers and of ad agency employees were obtained through Advertiser

 Perceptions (“AP”). A “leading provider of research-based strategic market intelligence and

 analysis to the media, advertising and ad tech industry,”27 AP has specialized in understanding the

 advertising market and advertising decision makers.28 This allowed them to reach a large pool of

 confirmed advertisers at companies and employees at ad agencies.                            AP regularly surveys

 advertisers at companies and employees at ad agencies to generate reports for use by companies




 25
      See Appendix E.
 26
      Given these results, I did not make any changes to the survey questionnaires based on the results of the pre-tests.
 27
      Business Wire, “Eureka Equity Partners Announces Investment in Advertiser Perceptions,”
      https://www.businesswire.com/news/home/20230216005622/en/Eureka-Equity-Partners-Announces-
      Investment-in-Advertiser-Perceptions (viewed 9/24/2023).
 28
      For example, Advertiser Perceptions publishes a series of “DSP Reports” summarizing insights from a survey of
      advertising decision makers. See, e.g., GOOG-DOJ-11021167-216; GOOG-DOJ-AT-00748293-396; GOOG-
      DOJ-AT-00839664-764; GOOG-DOJ-AT-02524665-749; GOOG-AT-MDL-001272416-493.

                                                           20
Case 4:20-cv-00957-SDJ      Document 688-2 Filed 11/25/24 Page 9 of 228 PageID #:
                                       31268
                HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


 in the advertising space.29 AP also frequently runs surveys at the request of specific companies

 seeking to understand advertisers’ decisions, considerations, and expected responses to changes.30

          31.      AP maintains a proprietary “AdPROs” panel and works with a variety of third-party

 survey panels to recruit qualified respondents.31               The AdPROs panel includes U.S.-based

 respondents who are brand marketers, agency executives, media specialists, digital publishers, and

 IT leaders directly involved in media and ad tech purchase decisions.32 Notably, the ADPROs

 panel includes “[q]uantitative and qualitative respondents covering the world’s top brands and

 agencies – including 100% of the Ad Age Top 200 Advertisers and controlling $165B+ of annual

 ad spend.”33

          32.      For each of the surveys described in this report, members of AP’s AdPROs panel

 and third-party partner panels were invited to participate in the survey via email. Up to two

 reminder emails were sent to participants who did not complete the survey within three to four

 days of the initial invite.




 29
      See, e.g., GOOG-DOJ-11021167-216; GOOG-DOJ-AT-00748293-396; GOOG-DOJ-AT-00839664-764;
      GOOG-DOJ-AT-02524665-749. See also Advertiser Perceptions, “Data-Driven Market Intelligence: For More
      Effective New Business and Client Retention Pitches,” https://advertiserintelligence.com (viewed 10/2/2023);
      Advertiser       Perceptions,       “What          Advertisers      Think,”      2016,       available      at
      https://www.advertiserperceptions.com/wp-content/uploads/2016/08/2016-AP-Company-Brochure.pdf, at pp. 6,
      17-18.
 30
      Advertiser Perceptions, “Key Business Intelligence That Drives Results: Take Actions Based on Data-Driven
      Strategic Sales & Marketing Recommendations,” https://www.advertiserperceptions.com/results/ (viewed
      10/2/2023);        Advertiser     Perceptions,     “What      Advertisers   Think,”   2016,    available    at
      https://www.advertiserperceptions.com/wp-content/uploads/2016/08/2016-AP-Company-Brochure.pdf, at pp. 2,
      6, 17-18.
 31
      Advertiser      Perceptions,      “2023         Ad     Pros      Page       -     Advertiser     Perceptions,”
      https://www.advertiserperceptions.com/join-ap-ad-pros/ (viewed 9/24/2023).
 32
      Advertiser      Perceptions,      “2023         Ad     Pros      Page       -     Advertiser     Perceptions,”
      https://www.advertiserperceptions.com/join-ap-ad-pros/ (viewed 9/24/2023); Advertiser Perceptions, “What
      Advertisers Think,” 2016, available at https://www.advertiserperceptions.com/wp-content/uploads/2016/08/2016
      -AP-Company-Brochure.pdf, at p. 7.
 33
      Advertiser      Perceptions,      “2023         Ad     Pros      Page       -     Advertiser     Perceptions,”
      https://www.advertiserperceptions.com/join-ap-ad-pros/ (viewed 9/24/2023).

                                                         21
Case 4:20-cv-00957-SDJ     Document 688-2 Filed 11/25/24 Page 10 of 228 PageID #:
                                       31269
                HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


          33.      AP has a standard process they put in place to generate survey samples that are

 representative of the advertiser population they are intended to reflect.34                   Specifically, AP

 maintains estimates of the distribution of U.S. based advertisers across a variety of metrics,

 including company size, annual media spend, industry/sector, advertiser title, and demographic

 information such as age, gender, and region. At my direction, and in accordance with their

 standard practices, AP sent invitations to panel members to generate an inbound sample35 that was

 representative of the U.S. advertiser population accounting for the vast majority of spending.36

          34.      At the direction of counsel, I asked AP to pre-screen respondents to ensure that they

 did not work for any companies that are parties to, were identified on initial disclosures in, or have

 received subpoenas in connection with United States v. Google LLC, No. 1:23-cv-00108 (E.D.

 Va.), the cases consolidated in In re Google Digital Advertising Antitrust Litigation, No. 1:21-md-

 03010 (S.D.N.Y.), and/or Texas v. Google LLC, No. 4:20-cv-00957 (E.D. Tex.).37 Respondents

 who work for companies on this list did not participate in any of the surveys. To the extent those

 companies are, on average, more sophisticated advertisers, then my results would likely be

 conservative on key topics such as multi-homing (i.e., the use of multiple ad buying tools and/or




 34
      See, e.g., GOOG-DOJ-AT-02524665-749, at 666-667; GOOG-DOJ-AT-00839664-764, at 666-667, 726; GOOG-
      DOJ-11021167-216, at 168; GOOG-AT-MDL-002038336-380, at 337-338. According to AP, their “proprietary
      database and panels of media decision makers are large and responsive” and the “advertiser survey and
      questionnaire development process that [they] employ is proven and ensures optimal response.” Advertiser
      Perceptions, “What Advertisers Think,” 2016, available at https://www.advertiserperceptions.com/wp-
      content/uploads/2016/08/2016-AP-Company-Brochure.pdf, at p. 18.
 35
      The “inbound sample” refers to the sample of respondents who clicked into the survey link provided in the
      invitation. AP’s approach of generating a representative inbound sample is similar to the methodology applied
      by many other panel providers I have worked with in the past.
 36
      For the Higher-Spend Advertiser Survey, in order to generate sufficiently large sample sizes across different
      spending levels, AP generated a sample with equal proportion of respondents within the $500,000 to $15,000,000
      annual ad spend range and the $15,000,000+ annual ad spend range. However, AP applied their standard practice
      to generate a representative inbound sample within those sub-groups.
 37
      The relevant companies are identified in Appendix I.

                                                         22
Case 4:20-cv-00957-SDJ     Document 688-2 Filed 11/25/24 Page 11 of 228 PageID #:
                                       31270
                HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


 advertising types) and substitution across advertising types in response to cost increases, which

 likely requires greater experience and expertise.38

          35.      While conducting the analyses described throughout this report, I also examined

 whether key results differed by demographics or advertiser spend (e.g., whether male respondents

 are more or less likely to multi-home than female respondents) and found that, by and large, the

 results are generally consistent across different subgroups.39 In addition to the standard process

 AP put in place to generate survey samples that are representative, this consistency supports that

 the survey results are not meaningfully impacted by the specific composition of the sample (e.g.,

 the number of male respondents versus female respondents).

          36.      As part of the quality control process, AP uses Research Defender, a digital

 fingerprinting and fraud detection platform,40 to exclude bots and manage duplication across

 sample partners, in addition to other internal metrics such as speeders (i.e., respondents who

 completed the survey in a very short amount of time), straight liners (i.e., respondents who gave

 the same answer for a series of questions), inconsistencies in responses, and low-quality open-

 ended responses. Respondents who completed the survey were compensated in points redeemable

 for cash, equivalent to approximately $10 to $20.41

          37.      For each survey, the final dataset provided by AP included all respondents who

 entered the survey, passed AP’s quality control process, and did not choose to exclude their


 38
      For a general overview of the literature on the effect of knowledge and expertise, see, e.g., Joseph W. Alba and
      J. Wesley Hutchinson (1987), “Dimensions of Consumer Expertise,” Journal of Consumer Research, Vol. 13,
      No. 4, pp. 411- 454.
 39
      See Exhibits 103-104.
 40
      Research Defender, “Home,” https://researchdefender.com (viewed 10/19/2023).
 41
      Research shows that providing respondents with financial incentives for completing surveys increases response
      rates and reduces nonresponse bias. See, e.g., Diamond (2011), at p. 383; Eleanor Singer and Cong Ye (2013),
      “The Use and Effects of Incentives in Surveys,” The Annals of the American Academy of Political and Social
      Science, Vol. 645, pp. 112-141, at p. 134; Colin F. Camerer and Robin M. Hogarth (1999), “The Effects of
      Financial Incentives in Experiments: A Review and Capital-Labor-Production Framework,” Journal of Risk and
      Uncertainty, Vol. 19, No. 1-3, pp. 7-42.

                                                          23
Case 4:20-cv-00957-SDJ     Document 688-2 Filed 11/25/24 Page 12 of 228 PageID #:
                                       31271
                HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


                       reactions (if any) to an increase in the cost of programmatic display spending,

                        including whether and to what extent spending would be diverted to other

                        digital advertising types;

                       use of different ad buying tools for programmatic display advertising;

                       metrics used to assess performance of programmatic display advertising; and

                       use of experiments to inform different aspects of programmatic display

                        advertising.

          40.      As noted above, the survey was designed to provide a broad review of advertisers’

 past decisions and behavior as well as their expected responses to changes. Thus, the survey

 involved a mix of questions about advertisers’ considerations, past decisions, as well as questions

 presenting hypothetical scenarios.

          B.       Methodology

          41.      Five pre-test interviews for the Higher-Spend Advertiser Survey were conducted

 on September 1, 2023. No changes to the survey questionnaire were made based on these pre-test

 interviews.     After pre-testing, the Higher-Spend Advertiser Survey was administered from

 September 5, 2023, to September 21, 2023. The full survey questionnaire is included in Appendix

 F.1. Screenshots of the survey as it appeared to respondents are presented in Appendix F.2.

                   1.      Survey Universe and Screening Criteria

          42.      The survey universe for the Higher-Spend Advertiser Survey included advertisers

 and marketers based in the U.S. who work for companies that sell and advertise products or

 services (as opposed to ad agencies) and have spent over $500,000 on advertising in the past year.44


 44
      As discussed above, because advertisers with lower spending levels may be less familiar with certain industry
      terminology used in the Higher-Spend Advertiser Survey, I required respondents to the Higher-Spend Advertiser


                                                        25
Case 4:20-cv-00957-SDJ     Document 688-2 Filed 11/25/24 Page 13 of 228 PageID #:
                                       31272
                HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


 Because a primary focus of the survey was to assess decision-making regarding programmatic

 display advertising specifically, the survey universe was also limited to advertisers and marketers

 who have used programmatic display advertising in the past year and who were personally

 involved in decisions regarding their company’s use of display advertising, including determining

 strategies, budgets, use of buying tools, and/or management of digital display campaigns.

          43.      Upon entering the survey, respondents were asked several standard introductory

 and demographic questions, followed by a series of screening questions to ensure that only

 respondents with the relevant characteristics that define the survey universe would qualify for the

 main questionnaire.45

          44.      First, prospective respondents who clicked on the link to the survey were asked to

 enter a “captcha” code presented on the screen to make sure the respondent was a person rather

 than a machine.

          45.      They were then told:

                   QS2. Thank you for participating in our study. Your opinions are very
                   important to us. If you don’t know an answer to a question or if you don’t
                   have an opinion, please don’t guess. Simply indicate this in your response
                   by selecting the “Don’t know / Unsure” option. There are no right or wrong
                   answers.

                   Your responses will be kept anonymous and will be analyzed as part of a
                   larger sample of responses. The results of this study will not be used to try
                   to sell you anything.

                   If you wear glasses or corrective lenses when using a desktop computer,
                   laptop computer, or tablet, please wear them throughout the survey.




      Survey to spend more than $500,000 on advertising in the past year. Advertisers spending less than this amount
      were eligible for the Lower-Spend Advertiser Survey, which was similar to the Higher-Spend Advertiser Survey
      but simplified certain language.
 45
      As shown in Appendix F.1, questions asked in the screening section of the questionnaire are identified by a “QS”
      prefix, questions asked in the main questionnaire are identified by a “Q” prefix, and the question asked in the
      follow-up section is identified by a “QF” prefix.

                                                          26
Case 4:20-cv-00957-SDJ     Document 688-2 Filed 11/25/24 Page 14 of 228 PageID #:
                                       31273
                HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


 whether or not to use a resource, which essentially involves a choice between taking an action (use

 the resource) or not.62,63

          64.      In the current survey, the question below regarding the possible diversion of

 spending from one type of advertising (i.e., programmatic display advertising) to other types of

 advertising follows a similar format to other such studies involving taking action and making

 changes. In addition, the current survey was designed to assess the extent to which respondents

 would divert spending to each other type of advertising, and differences, if any, across different

 forms of advertising.

          65.      Specifically, respondents were instructed to assume a scenario in which their

 analysis shows that the cost of programmatic display advertising has increased by a “small but

 significant amount,” whereas the costs of other digital advertising types have not changed. Given

 this scenario, they were asked whether or not they will divert some of their spending to other types

 of digital advertising and if so, which types of digital advertising they will divert spending to.64

 The phrasing of this question was designed to leave it to the advertisers to consider their reaction,

 if any, if (what they consider to be) “a small but significant” increase in the cost of programmatic

 display advertising occurred.65



 62
      See, e.g., Aram Galstyan, Shashikiran Kolar, and Kristina Lerman (2003), “Resource Allocation Games with
      Changing Resource Capacities,” Proceedings of the Second International Joint Conference on Autonomous
      Agents and Multiagent Systems, pp. 145-152. See also Vicki G. Morwitz, Eric Johnson, and David Schmittlein
      (1993), “Does Measuring Intent Change Behavior?,” Journal of Consumer Research, Vol. 20, No. 1, pp. 46-61.
 63
      Other studies have also examined advertiser budgeting methods more generally. See, e.g., Douglas West and
      Gerard P. Prendergast (2009), “Advertising and Promotions Budgeting and The Role of Risk,” European Journal
      of Marketing, Vol. 43, No. 11/12, pp. 1457-1476.
 64
      The order of the presented response options was randomized (except for “Don’t know / Unsure”).
 65
      In addition, the balanced phrasing of “small but significant” avoids possible demand effects whereby respondents
      might have assumed that certain answers were expected or preferred. See, e.g., Itamar Simonson and Ran Kivetz
      (2012), “Demand Effects in Likelihood of Confusion Surveys: The Importance of Marketplace Conditions,” in
      Trademark and Deceptive Advertising Surveys: Law, Science, and Design, Chapter 11, Shari S. Diamond and
      Jerre B. Swann, Eds., American Bar Association, at p. 243. See also Alan G. Sawyer (1975), “Demand Artifacts
      in Laboratory Experiments in Consumer Research,” Journal of Consumer Research, Vol. 1, No. 4, pp. 20-30, at
      pp. 20-21.

                                                          39
Case 4:20-cv-00957-SDJ   Document 688-2 Filed 11/25/24 Page 15 of 228 PageID #:
                                     31274
              HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


                  Q5. Please read carefully. Now suppose that, based on your analysis, the
                  cost of programmatic display advertising has recently increased by a
                  small but significant amount, and will remain elevated for the
                  foreseeable future. Assume further that, based on similar analyses for other
                  digital advertising types, the costs of other digital advertising types have
                  not changed and are not expected to change.

                  So if the cost of programmatic display advertising increases (while the cost
                  of other advertising types remains the same), will you or won’t you divert
                  some of your advertising spending for the coming year to other types of
                  digital advertising?

                        Yes, I will divert some of my advertising spending for the coming
                         year to other types of digital advertising
                        No, I will not divert any of my advertising spending for the coming
                         year to other types of digital advertising [SKIP TO Q8]
                        Don’t know / Unsure [SKIP TO Q8]

                  Q6. To which other types of digital advertising below, if any, would you
                  divert your advertising spending for the coming year as a result of the
                  increase in the cost of programmatic display advertising?66

                  To review the advertising type descriptions, hover your mouse over each
                  digital advertising type.

                  (Please select all that apply.) 67

                        Search
                        Direct Deals Display
                        Email
                        Digital Audio
                        Social
                        App/In-app
                        Digital Video
                        Connected TV
                        eCommerce Platforms
                        Other
                        None of the above [EXCLUSIVE] [SKIP TO Q8]
                        Don’t know / Unsure [EXCLUSIVE] [SKIP TO Q8]




 66
      As noted above, respondents were only asked Q6 if they indicated that they would divert spending in Q5.
 67
      The order of the response options was randomized (except for “Other,” “None of the above,” and “Don’t know /
      Unsure”).

                                                        40
Case 4:20-cv-00957-SDJ     Document 688-2 Filed 11/25/24 Page 16 of 228 PageID #:
                                       31275
                HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


          66.      After selecting which other digital advertising types they would divert spending to,

 respondents were asked to rate the extent of their increase on a scale of 0 to 10, with 0 labeled as

 “keep the same” and 10 labeled as “substantially increase.” Respondents were also given the

 option to select “Don’t know / Unsure” if they were unable to make a choice on the scale.68

                   Q7. In your previous answer, you indicated that the increase in the cost of
                   programmatic display advertising will lead you to divert some of your
                   advertising spending to the types of digital advertising listed below.

                   Please use the sliders below to indicate, on a scale of 0 to 10, the extent to
                   which you would divert (that is, increase) advertising spending for the
                   coming year to each type of digital advertising that you just indicated.

                   For each digital advertising type below, please select 0 if you expect to
                   keep spending on that type of digital advertising for the coming year and
                   10 if you expect to substantially increase spending on that type of digital
                   advertising.

                   To review the advertising type descriptions, hover your mouse over each
                   digital advertising type.69


                   Search                       [INSERT SLIDER]                  Don’t know / Unsure
                   Direct Deals Display         [INSERT SLIDER]                  Don’t know / Unsure
                   Email                        [INSERT SLIDER]                  Don’t know / Unsure
                   Digital Audio                [INSERT SLIDER]                  Don’t know / Unsure
                   Social                       [INSERT SLIDER]                  Don’t know / Unsure
                   App/In-app                   [INSERT SLIDER]                  Don’t know / Unsure
                   Digital Video                [INSERT SLIDER]                  Don’t know / Unsure
                   Connected TV                 [INSERT SLIDER]                  Don’t know / Unsure
                   eCommerce Platforms          [INSERT SLIDER]                  Don’t know / Unsure
                   Other                        [INSERT SLIDER]                  Don’t know / Unsure


          67.      Below is an example of how this question appeared to respondents taking the

 survey:70




 68
      The response options in Q7 were presented in the same order as those presented in Q6, which was randomized.
 69
      As noted above, respondents were only asked Q7 if they indicated that they would divert spending in Q5.
 70
      Appendix F.2, at F.2-24.

                                                        41
Case 4:20-cv-00957-SDJ     Document 688-2 Filed 11/25/24 Page 17 of 228 PageID #:
                                       31276
                HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


                  I and/or my business unit/team have run experiments and/or test & learn
                  initiatives testing… (Please select all that apply.) 84

                        Creatives
                        Bid strategies
                        Audiences
                        Publishers
                        Ad buying tool performance
                        ROI/ROAS
                        Other (please specify): [TEXT BOX]
                        Don’t know / Unsure [EXCLUSIVE]

 Follow-up Disclosure and Participation Question

          79.     At the conclusion of the survey, respondents were presented with a disclosure about

 the sponsor of the survey and its connection to pending antitrust lawsuits and were given the option

 to exclude their responses from the survey. This question was included at the end of the survey to

 avoid introducing any potential bias in the survey responses due to demand effects whereby

 respondents might have assumed that certain answers were expected or preferred.

          80.     Specifically, respondents were shown the following screen, which concluded the

 survey: 85

                  QF1. This survey is being conducted by consultants that have been
                  retained on behalf of Google in connection with pending antitrust lawsuits
                  in which the plaintiffs allege that Google engaged in anticompetitive
                  conduct related to digital advertising.

                  If you are willing to participate in this survey, please click “Include my
                  responses” below. As a reminder, your responses will be kept anonymous
                  and will be analyzed as part of a larger sample of responses.

                  If you do not want to participate in this survey, please click “Exclude my
                  responses” below.

                        Include my responses
                        Exclude my responses



 84
      The order of the response options was randomized (except for “Don’t know / Unsure”).
 85
      The order of the response options was randomized.

                                                        49
Case 4:20-cv-00957-SDJ     Document 688-2 Filed 11/25/24 Page 18 of 228 PageID #:
                                       31277
                HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


          81.      It is noteworthy that there is no reason to expect the respondents who chose, at the

 conclusion of the survey, to not be included in the final sample to be different from the other

 respondents. Considering that respondents were asked to describe their advertising practices and

 considerations, and they were not asked to evaluate any particular company, there is no reason to

 expect those who chose to not be included in the sample to be different in any systematic way or

 in any way that pertains to the surveys’ conclusions from other respondents. In fact, some research

 has found that identifying the survey sponsor to respondents has no meaningful effect on the

 content of the survey responses.86 For example, in this survey, one would be hard-pressed to come

 up with a scenario whereby those respondents who used fewer advertising buying tools would be

 systematically more likely to indicate that they prefer to not be included in the sample.

          C.       Survey Findings

          82.      In this section, I will summarize the main survey findings for the Higher-Spend

 Advertiser Survey. Additional findings can be found in Exhibits 1 to 36. The complete data set

 of all individual participants’ responses is presented in Appendix F.3.

          83.      A total of 603 respondents completed the survey.87 Of those, 94 respondents chose

 to exclude their responses from the survey.88 Consistent with common practice, 7 respondents




 86
      Charles Crabtree, Holger L. Kern, and Matthew T. Pietryka (2022), “Sponsorship Effects in Online Surveys,”
      Political Behavior, Vol. 44, pp. 257-270; Del I. Hawkins (1979), “The Impact of Sponsor Identification and Direct
      Disclosure of Respondent Rights on the Quantity and Quality of Mail Survey Data,” Journal of Business, Vol.
      52, No. 4, pp. 577-590.
 87
      Exhibit 1. AP removed two respondents who did not meet their internal quality control metrics. These
      respondents provided what AP determined to be nonsensical responses to open-ended questions, such as
      “R5U54U” and “The study is quite nice to carry on.” These respondents were not included in the 603 respondents
      considered to have completed the survey.
 88
      Exhibit 1. Respondents who selected “Exclude my responses” in QF1 were not included in the respondent-level
      data files provided to me by Advertiser Perceptions and thus I do not have access to their responses to other
      questions in the survey.

                                                          50
Case 4:20-cv-00957-SDJ     Document 688-2 Filed 11/25/24 Page 19 of 228 PageID #:
                                       31278
                HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


 advertising, instead of up to four advertising types as was done in the Higher-Spend Advertiser

 Survey. Other differences involved minor updates to the phrasing of questions and answer options

 to make them suitable for lower-spend advertisers, such as removing references to “business

 unit/team” and updating “advertiser/marketer” to “products/services business.”

           B.       Methodology

           115.     Three pre-test interviews (as described above) for the Lower-Spend Advertiser

 Survey were conducted on September 19, 2023. No changes were made based on these pre-test

 interviews. The Lower-Spend Advertiser Survey was administered from September 25, 2023 to

 October 12, 2023. The full survey questionnaire is included in Appendix G.1. Screenshots of the

 survey as it appeared to respondents are presented in Appendix G.2.

                    1.       Survey Universe and Screening Criteria

           116.     The survey universe for the Lower-Spend Advertiser Survey was similar to that of

 the Higher-Spend Advertiser Survey. Specifically, the universe for the Lower-Spend Advertiser

 survey included advertisers and marketers based in the U.S. who work for companies that sell and

 advertise products or services (as opposed to ad agencies) and have spent less than $500,000 on

 advertising in the past year.144 Because a primary focus of the survey was to assess decision-

 making regarding display advertising specifically, the survey universe was limited to advertisers

 and marketers who have used display advertising in the past year and who were personally

 involved in decisions regarding their company’s use of display advertising, including determining

 strategies, budgets, use of buying tools, and/or management of digital display campaigns.




 144
       As discussed above, advertisers spending more than $500,000 on advertising in the past year were eligible for the
       Higher-Spend Advertiser Survey, which used certain industry terms that higher-spend advertisers tend to be more
       familiar with.

                                                           72
Case 4:20-cv-00957-SDJ  Document 688-2 Filed 11/25/24 Page 20 of 228 PageID #:
                                    31279
             HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


        B.      Methodology

        164.    Four pre-test interviews for the Ad Agency Survey (as described above) were

 conducted on September 5, 2023. No changes were made based on the pre-testing. The actual Ad

 Agency Survey was administered from September 6, 2023 to September 21, 2023. The full survey

 questionnaire is included in Appendix H.1. Screenshots of the survey as it appeared to respondents

 are presented in Appendix H.2.

                1.      Survey Universe and Screening Criteria

        165.    The survey universe for the Ad Agency Survey included individuals based in the

 U.S. who work for ad agencies and assist their clients with media strategy (i.e., advising clients on

 media/marketing strategies and/or how to spend advertising funds). Because a primary focus of

 the survey was to assess decision-making regarding programmatic display advertising specifically,

 the survey universe was also limited to ad agency employees who have used programmatic display

 advertising in the past year for their primary client and who were personally involved in assisting

 their primary client with decisions regarding their use of display advertising, including determining

 or advising the client regarding strategies, budgets, use of buying tools, and/or management of

 digital display campaigns.

        166.    The screening questions used to determine whether the respondents met the

 definition of the relevant survey universe and thus would qualify for the main questionnaire for

 the Ad Agency Survey were similar to those used in the Higher-Spend Advertiser Survey, except

 for certain differences that I describe below.

        167.    Respondents were asked to select which description best characterizes their

 company (QS7), and had to indicate working for a media agency or a full service agency in order

 to proceed with the survey. If the respondent indicated working for a full service agency, they


                                                  104
Case 4:20-cv-00957-SDJ                       Document 688-2     Filed 11/25/24        Page 21 of 228 PageID #:
                                    HIGHLY CONFIDENTIAL – SUBJECT
                                                          31280 TO PROTECTIVE ORDER

                                                          EXHIBIT 2

                                          HIGHER-SPEND ADVERTISER SURVEY
                                         SURVEY PARTICIPATION PREFERENCE


  QF1: This survey is being conducted by consultants that have been retained on behalf of Google in connection with
   pending antitrust lawsuits in which the plaintiffs allege that Google engaged in anticompetitive conduct related to
   digital advertising. If you are willing to participate in this survey, please click “Include my responses” below. As a
   reminder, your responses will be kept anonymous and will be analyzed as part of a larger sample of responses. If you
   do not want to participate in this survey, please click “Exclude my responses” below.




                              600
                                               84%
                                               509
                              500
      Number of Respondents




                              400


                              300


                              200                              INTERNAL FLAG
                                                                                      16%
                                                                                       94
                              100


                                0
                                        Include my responses                Exclude my responses


  Notes & Sources:
  From Higher-Spend Advertiser Survey.
  Includes respondents who completed the survey.
  Respondents who indicated that they wanted their responses excluded from the survey were removed from the data
    by the panel vendor.
Case 4:20-cv-00957-SDJ              Document 688-2             Filed 11/25/24         Page 22 of 228 PageID #:
                      HIGHLY CONFIDENTIAL – SUBJECT
                                            31281 TO PROTECTIVE ORDER

                                                   EXHIBIT 38

                               LOWER-SPEND ADVERTISER SURVEY
                              SURVEY PARTICIPATION PREFERENCE


 QF1: This survey is being conducted by consultants that have been retained on behalf of Google in connection with
  pending antitrust lawsuits in which the plaintiffs allege that Google engaged in anticompetitive conduct related to
  digital advertising. If you are willing to participate in this survey, please click “Include my responses” below. As a
  reminder, your responses will be kept anonymous and will be analyzed as part of a larger sample of responses. If you
  do not want to participate in this survey, please click “Exclude my responses” below.
   Number of Respondents

         350

                                    76%
         300


         250
                                    167
         200


         150

                                                                                    24%
         100

                                    140
          50                                                                         95


           0
                            Include my responses                            Exclude my responses
                                    < Than $50K Ad Spend        $50K – $500K Ad Spend




                                                     Page 1 of 2
Case 4:20-cv-00957-SDJ              Document 688-2            Filed 11/25/24         Page 23 of 228 PageID #:
                     HIGHLY CONFIDENTIAL – SUBJECT
                                           31282 TO PROTECTIVE ORDER

                                                   EXHIBIT 38

                               LOWER-SPEND ADVERTISER SURVEY
                              SURVEY PARTICIPATION PREFERENCE


 Notes & Sources:
 From Lower-Spend Advertiser Survey.
 Includes respondents who completed the survey.
 Respondents who indicated that they wanted their responses excluded from the survey were removed from the data
   by the panel vendor.
 Information about annual ad spend for the 95 respondents who selected to exclude their responses is not available.




                                                     Page 2 of 2
                        Case 4:20-cv-00957-SDJ              Document 688-2             Filed 11/25/24         Page 24 of 228 PageID #:
                                              HIGHLY CONFIDENTIAL – SUBJECT
                                                                    31283 TO PROTECTIVE ORDER


                                                                           EXHIBIT 69

                                                               AGENCY SURVEY
                                                      SURVEY PARTICIPATION PREFERENCE


                         QF1: This survey is being conducted by consultants that have been retained on behalf of Google in connection with
                          pending antitrust lawsuits in which the plaintiffs allege that Google engaged in anticompetitive conduct related to
                          digital advertising. If you are willing to participate in this survey, please click “Include my responses” below. As a
                          reminder, your responses will be kept anonymous and will be analyzed as part of a larger sample of responses. If you
                          do not want to participate in this survey, please click “Exclude my responses” below.




                        450
                                                      85%
                                                      392
                        400

                        350
Number of Respondents




                        300

                        250

                        200

                        150
                                                                                                              15%
                        100
                                                                                                               71
                         50

                          0
                                             Include my responses                                   Exclude my responses

                         Notes & Sources:
                         From Agency Survey.
                         Includes respondents who completed the survey.
                         Respondents who indicated that they wanted their responses excluded from the survey were removed from the data by the
                           panel vendor.
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 25 of 228 PageID #:
                                 31284
          HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




          APPENDIX D
    PRELIMINARY INTERVIEW
            GUIDE




                                    D-1
Case 4:20-cv-00957-SDJ   Document 688-2 Filed 11/25/24 Page 26 of 228 PageID #:
                                     31285
              HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER

                                        Preliminary Interview Guide

 1.       Introduction

 Hello, am I speaking to [FIRST NAME]?
 My name is [NAME] and I will be interviewing you. Thank you for agreeing to speak with me today.
 This interview is not being recorded. I have not been told your identity, including the company you work
 for. I only know your job title and the industry category you work in. All information you provide will be
 analyzed across the entire sample of interviews.
 This interview is being conducted by consultants that have been retained on behalf of Google in
 connection with pending antitrust lawsuits in which the plaintiffs allege that Google engaged in
 anticompetitive conduct related to digital advertising. Based on our research, we understand that your
 company is not a participant in those lawsuits. We are interviewing people who work in advertising and
 would like to ask you some questions about your work. Would you be willing to participate in this
 interview?
 As we go through, please let me know if any of my questions are unclear or if I use any terms you are
 unfamiliar with.
 I will ask you about several different topics. If I start asking about any topics that don’t apply to you or
 your company, please just let me know and I can move on to the next topic.
 When answering, please give as much detail as possible. However, if you do not know the answer, that is
 okay -- just let me know.
 Do you have any questions before I begin?



 2.       General Background

      1. Do you work in a particular group or area within your company? What group or area is that?
              a. How is your advertising group organized? Does it, e.g., cover specific products, customer
                 segments, etc.?
      2. How would you describe your current role?
      3. How long have you been in this role? How long have you worked on digital advertising over the
         course of your career?
      4. In your current role, what, if any, responsibilities do you have with respect to digital advertising?
      5. If you know, roughly what share or percentage of your ad spending is on digital, online
         advertising vs. offline advertising?
      6. How would you describe the role you play in deciding how advertising dollars are spent? What
         are your specific responsibilities?
      7. Do you work with advertising agencies for digital advertising?



                                                      D-2
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 27 of 228 PageID #:
                                 31286
          HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




              APPENDIX E
         PRETEST MODERATOR
            INSTRUCTIONS




                                    E-1
Case 4:20-cv-00957-SDJ    Document 688-2 Filed 11/25/24 Page 28 of 228 PageID #:
                                      31287
               HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER

                                            Pretest Moderator Instructions

 Instructions: The moderator’s script is highlighted in grey. Instructions and cues for the moderator are in
 bold and all caps.

 Section 1: Introduction & Questionnaire
 Hello.

 My name is ______. Thank you so much for agreeing to take this survey today. Please take the survey as
 you normally would. There is no correct or incorrect way to take this survey, we would like you to
 approach this as realistically as possible. After you’re done taking the survey, I will ask you a few follow-
 up questions.

 Does that all sound okay? [WAIT FOR AGREEMENT]

 Thank you! The link to the website you need to go to was provided in the email you received, please
 follow that link. [IF NECESSARY REMIND WHO THE SENDER OF THE EMAIL WAS] Please
 let me know when you have the link open.

 Thank you! You can start the survey. Please let me know when you complete the survey because I will
 have a few follow-up questions then.

 [ALLOW THE RESPONDENT TO TAKE THE SURVEY AND FINISH]

 Section 2: Follow-up Questions
 [QUESTIONS TO ASK AFTER THE RESPONDENT FINISHED RESPONDING TO ALL
 SURVEY QUESTIONS AND INDICATES SO]

 Q1. Did you have any problems or difficulties while taking the survey?

 Q2. Did you think any questions were unclear? If so, which ones and why?

 Q3. Did you think any answer options were unclear? If so, which ones and why?

 Q4. Did any questions in the survey make you feel that you should answer one way or the other? If so,
 which ones and why?

 Q5. What do you think might be the purpose for conducting this survey? What makes you think so?

 Section 3: Closing

 Q6. Is there anything else you would like to say about the survey?
 -------------------------------------------------------------------------------------------------------------------------------
 Thank you so much for your time. Your participation is much appreciated and a representative from
 Advertiser Perceptions will reach out regarding your compensation for completing this survey. Have a
 good day.




                                                              E-2
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 29 of 228 PageID #:
                                 31288
          HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




       APPENDIX F
 HIGHER-SPEND ADVERTISER
         SURVEY
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 30 of 228 PageID #:
                                 31289
          HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




       APPENDIX F.1
 HIGHER-SPEND ADVERTISER
      SURVEY SCRIPT




                                   F.1-1
Case 4:20-cv-00957-SDJ Document 688-2 Filed 11/25/24 Page 31 of 228 PageID #:
                                   31290
            HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


                             Higher-Spend Advertiser Survey
                   Screener and Main Survey Programmer Instructions

    LEGEND:

    [PROGRAMMER NOTES IN BOLD CAPS AND BRACKETS]
    Notes to respondent in italics

    FORMAT: The survey consists of the following sections:

       Introduction & Screening (questions labeled QS)
       Main Survey Questions (questions labeled Q)
       Follow-Up Questions (questions labeled QF)

 Overview
   [NO RESPONDENTS TO BE CONTACTED AT COMPANIES FROM THE LIST OF
   ENTITIES TO BE EXCLUDED]
   [PANEL CONSISTS OF RESPONDENTS WHO ARE 18+, BASED IN THE U.S., AND
   WHOSE JOB FUNCTION RELATES TO MARKETING AND/OR ADVERTISING]
   [TARGET 500 COMPLETES]
   [DISABLE THE BROWSER’S “BACK” BUTTON AND DO NOT SHOW A “BACK”
   BUTTON WITHIN THE SURVEY]
   [FORCE RESPONSES TO ANSWER ALL QUESTIONS UNLESS OTHERWISE
   SPECIFIED]
   [DISPLAY ONE QUESTION PER PAGE UNLESS OTHERWISE SPECIFIED]
   [NO SURVEY OR SECTION TITLES TO BE DISPLAYED TO RESPONDENTS]
   [DIGITAL FINGERPRINTING SHOULD BE USED TO AVOID REPEAT
   PARTICIPATION]
   [TEXT FOR TERMINATES: “THANK YOU FOR YOUR INTEREST IN OUR STUDY.
   YOU DO NOT QUALIFY FOR THIS STUDY. WE APPRECIATE YOUR TIME.”]




                                          F.1-2
Case 4:20-cv-00957-SDJ Document 688-2 Filed 11/25/24 Page 32 of 228 PageID #:
                                   31291
            HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


 Introduction and Screening

   QS1. Please enter the code exactly as it appears in the box below, and then click “Continue”
        to continue.
   [INSERT CAPTCHA; TERMINATE AFTER THREE INCORRECT ATTEMPTS]


   QS2. Thank you for participating in our study. Your opinions are very important to us. If you
        don’t know an answer to a question or if you don’t have an opinion, please don’t guess.
        Simply indicate this in your response by selecting the “Don’t know / Unsure” option.
        There are no right or wrong answers.

          Your responses will be kept anonymous and will be analyzed as part of a larger sample
          of responses. The results of this study will not be used to try to sell you anything.

          If you wear glasses or corrective lenses when using a desktop computer, laptop
          computer, or tablet, please wear them throughout the survey.

          Please do not use the “Back” button of your browser while taking the survey. When
          you are ready to get started, please select the “Continue” button.


   QS3. What is your age? (Please select only one option.)

   [FLIP ORDER PER RESPONDENT, AS IS AND REVERSE; KEEP “PREFER NOT
   TO ANSWER” LAST]
     Under 18 [TERMINATE]
     18 - 34
     35 - 49
     50 - 64
     65 or above
     Prefer not to answer [TERMINATE]


   QS4. What is your gender? (Please select only one option.)
   [RANDOMIZE; KEEP “OTHER” AND “PREFER NOT TO ANSWER” LAST]
     Male
     Female
     Other: [INSERT TEXT BOX]
     Prefer not to answer




                                              F.1-3
Case 4:20-cv-00957-SDJ Document 688-2 Filed 11/25/24 Page 33 of 228 PageID #:
                                   31292
            HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


   QS5. In which state do you live? (Please select only one option.)
   [INSERT DROP DOWN MENU OF ALL 50 STATES AND DC, PLUS “OTHER” AND
   “DON’T KNOW / UNSURE”]
   [TERMINATE IF “OTHER” OR “DON’T KNOW / UNSURE” IS SELECTED]


   QS6. Which of the following do you have any involvement in as part of your job
        responsibilities? (Please select all that apply.)

   [RANDOMIZE; KEEP “OTHER” LAST]

       Hiring/HR
       IT/Tech
       Business intelligence/Data science
       Sales or account management
       Accounting/Finance
       Advertising or Marketing
       Website/Mobile App design/development
       Customer relationship management
       Data analysis/statistics
       Other (specify):

    [TERMINATE IF “Advertising or Marketing” IS NOT SELECTED]


   QS7. Which of the following best characterizes the type of company you work for? (Please
        select only one option.)
   [RANDOMIZE; KEEP “OTHER” LAST]
     Advertiser/Marketer – your company sells products or services and advertises/markets
      its products or services
     Creative Agency – your company designs or produces marketing content and/or advises
      clients on their creative media/marketing strategies [TERMINATE]
     Media Agency – your company advises clients on their media/marketing strategies and/or
      how to spend their advertising funds [TERMINATE]
     Full Service Agency – your company handles both Creative and Media strategy and/or
      execution [TERMINATE]
     Other (please describe): [INSERT TEXT BOX] [TERMINATE]




                                              F.1-4
Case 4:20-cv-00957-SDJ Document 688-2 Filed 11/25/24 Page 34 of 228 PageID #:
                                   31293
            HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


   QS8. Which of the following, if any, best characterizes the market sector/industry your
        company is in? (Please select only one option.)
   [DO NOT RANDOMIZE]
     Advertising or Marketing
     Apparel/Fashion
     Automotive
     B2B/Services for Businesses
     Consumer Electronics
     Education
     Financial Products/Services for Consumers (including Fintech)
     Food and Beverage
     Government
     Health and Beauty Products
     Home Products/Appliances
     Health Care or Medical Services
     Media and Entertainment
     Non-Profit
     Pharmaceuticals and Remedies (Rx or OTC)
     Restaurants
     Retail (including Ecommerce)
     Telecommunications
     Travel and Hospitality
     Other (Please describe): [INSERT TEXT BOX]

   QS9. Which of the following best characterizes your current job title/level? (Please select
        only one option.)
   [RANDOMIZE; KEEP “OTHER” LAST]
         C-Level (CEO, COO, CMO, etc.)
         Vice President, SVP, EVP, President, etc.
         Director
         Supervisor/Department Head/Group Manager
         Manager
         Strategist
         Associate
         Analyst
         Buyer
         Planner
         Other (please describe): [INSERT TEXT BOX]




                                              F.1-5
Case 4:20-cv-00957-SDJ Document 688-2 Filed 11/25/24 Page 35 of 228 PageID #:
                                   31294
            HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


   QS10. Approximately how much did your company spend in the last 12 months on all
         advertising, including all digital types (e.g., display, video, audio, social) plus all
         nondigital types (e.g., TV types, print, OOH, etc.)? (Please select only one option.)
   [FLIP ORDER PER RESPONDENT, AS IS AND REVERSE; KEEP “DON’T KNOW /
   UNSURE” LAST]
     Less than $10,000 [TERMINATE]
     $10,000 to less than $50,000 [TERMINATE]
     $50,000 to less than $100,000 [TERMINATE]
     $100,000 to less than $250,000 [TERMINATE]
     $250,000 to less than $500,000 [TERMINATE]
     $500,000 to less than $1 million
     $1 million to less than $3 million
     $3 million to less than $7 million
     $7 million to less than $15 million
     $15 million to less than $30 million
     $30 million to less than $50 million
     $50 million to less than $100 million
     $100 million to less than $250 million
     $250 million to less than $500 million
     $500 million or more
     Don’t know / Unsure [TERMINATE]

   QS11. Please think about your business unit/team’s total advertising budget. In the past year,
         what percentage of your business unit/team’s total advertising budget was used for
         digital (online) advertising, as opposed to offline advertising? Please give your best
         estimate. (Please enter a number from 0 to 100 for each type of advertising, or select
         “Don’t know / Unsure.” Values must add up to 100%)

      [FOR ERRORS, DISPLAY THE FOLLOWING ERROR MESSAGE: “Please enter a
      whole number between 0 and 100 for each advertising type, or select “Don’t know /
      Unsure.” Values must add up to 100.”][SHOW TOTAL AT BOTTOM]

      [RANDOMIZE ORDER; KEEP “DON’T KNOW / UNSURE” LAST]

      Percentage of budget spent on digital (online) advertising last year:
      Percentage of budget spent on offline advertising last year:
      TOTAL                                          [SHOW SUM OF NUMBERS ABOVE]

       Don’t know / Unsure [EXCLUSIVE]

      [TERMINATE IF DIGITAL (ONLINE) = 0]




                                                F.1-6
Case 4:20-cv-00957-SDJ Document 688-2 Filed 11/25/24 Page 36 of 228 PageID #:
                                   31295
            HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


   QS12. Which of the following types of digital advertising, if any, has your business unit/team
         used in the past year? Please review the description of each advertising type carefully.
         (Please select all that apply.)

        [RANDOMIZE ORDER; KEEP “OTHER” AND “DON’T KNOW / UNSURE”
        LAST]

         Advertising Type                Description
        Search                          Digital ads placed on search engine result pages. Ads
                                         generally consist of a headline, description, and a link
                                         to the destination URL.
        Display                         Digital ads made up of text, image, video, and/or other
                                         multimedia components that typically appear along the
                                         top or sides of a website, or sometimes in the middle of
                                         other content on a website. Examples of display ad
                                         formats include banner ads, animations, and interactive
                                         content. Display ads do not include ads placed on
                                         social media platforms.
        Email                           Digital ads sent via email to current and potential
                                         customers.
        Digital Audio                   Recorded advertisements that play between or during
                                         songs, podcasts, or other digital audio content.
        Social                          Digital ads placed on social media platforms such as
                                         Facebook, Instagram, LinkedIn, Snapchat, and Twitter.
        App/In-App                      Digital ads placed and displayed within mobile apps.
                                         Does not include ads placed on social media platforms.
        Digital Video                   Includes video ads that appear before, during, or after
                                         digital content in a video player, such as YouTube.
        Connected TV                    Includes digital advertising that appears on home
                                         screens of CTV devices and in-stream video ads that
                                         appear on CTVs from platforms like Hulu, Roku and
                                         YouTube. CTVs are TV sets connected to the internet
                                         through built-in internet capability or through another
                                         device such as a Blu-ray player, game console, set-top
                                         box (e.g., Apple TV, Google Chromecast, Roku), etc.
        eCommerce Platforms             Digital ads that appear on eCommerce platforms, such
                                         as Amazon.com or Instacart.
        Other (specify and explain):
         [INSERT TEXT BOX]
         Don’t know / Unsure [EXCLUSIVE]

    [TERMINATE IF “DISPLAY” IS NOT SELECTED]




                                              F.1-7
Case 4:20-cv-00957-SDJDocument 688-2 Filed 11/25/24 Page 37 of 228 PageID #:
                                  31296
           HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


   QS13. You indicated that your business unit/team has used display advertising in the past
         year. Display ad inventory can be purchased through programmatic transaction methods
         or through direct deals with publishers. Please review the below descriptions about
         these transaction methods.

         Programmatic: Ads that are purchased programmatically are transacted and fulfilled
         using automation. In programmatic transactions, the price of each impression is
         typically determined in an auction conducted automatically before the impression is
         served.

         Direct Deals: Ads that are purchased through a direct negotiation, or “direct deal,” with
         the publisher. In direct deals, the price of the ad inventory is typically set through a one-
         to-one negotiation between the advertiser and the publisher rather than through an
         auction. “Direct deals” include programmatic direct deals, such as programmatic
         guaranteed deals and preferred deals.

         Which of the following transaction methods has your business unit/team (or your ad
         agency) used to purchase display ad inventory in the past year? (Please select all that
         apply.)

         [RANDOMIZE ORDER; KEEP “NONE OF THE ABOVE” AND “DON’T
         KNOW / UNSURE” LAST]

           Programmatic
           Direct Deals
           None of the above [EXCLUSIVE]
           Don’t know / Unsure [EXCLUSIVE]

        [TERMINATE IF “PROGRAMMATIC” IS NOT SELECTED]




                                                F.1-8
Case 4:20-cv-00957-SDJ Document 688-2 Filed 11/25/24 Page 38 of 228 PageID #:
                                   31297
            HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


   QS14. [IF “SOCIAL” IS SELECTED IN QS12] You indicated that your business unit/team
         has used social advertising in the past year. Which of the following social media
         platforms, if any, has your business unit/team advertised on in the past year? (Please
         select all that apply.)
        [RANDOMIZE ORDER; KEEP “OTHER,” “NONE OF THE ABOVE”, AND
        “DON’T KNOW / UNSURE” LAST]
           Facebook
           Instagram
           Pinterest
           Snapchat
           TikTok
           Twitter
           LinkedIn
           Reddit
           Tumblr
           FriendLinx
           Other social media platforms (specify): [INSERT TEXT BOX]
           None of the above [EXCLUSIVE]
           Don’t know / Unsure [EXCLUSIVE]

   QS15. In which of the following ways have you personally been involved in your company’s
         digital display advertising efforts in the last 12 months? (Please select all that apply.)
   [RANDOMIZE; KEEP “NONE OF THE ABOVE” AND “DON’T KNOW / UNSURE”
   LAST]
           I determine overall strategies and/or budgets for digital display
           I determine which buying tools and/or demand-side platforms (DSPs) to use for
            digital display
           I regularly use self-serve ad platforms to manage digital display campaigns
           I oversee a team/individuals that use(s) self-serve ad platforms to manage digital
            display campaigns
           I regularly set up audience/target parameters for programmatic digital display
            buying
           I oversee a team/individuals that set(s) up audience/target parameters for
            programmatic digital display buying
           I measure results of digital display campaigns
           I oversee a team/individuals that measure(s) results of digital display campaigns
           None of the above [EXCLUSIVE] [TERMINATE]
           Don’t know / Unsure [EXCLUSIVE] [TERMINATE]

 [TERMINATE IF NONE OF “I determine overall strategies and/or budgets for digital
 display”, “I determine which buying tools and/or demand-side platforms (DSPs) to use for
 digital display”, “I regularly use self-serve ad platforms to manage digital display campaigns”,
 “I oversee a team/individuals that use(s) self-serve ad platforms to manage digital display
 campaigns” ARE SELECTED]



                                               F.1-9
Case 4:20-cv-00957-SDJ Document 688-2 Filed 11/25/24 Page 39 of 228 PageID #:
                                   31298
            HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


   QS16. This question is testing whether or not you’re paying attention while taking this survey.
         Please select “Somewhat likely” below. (Please select only one option.)
   [FLIP ORDER PER RESPONDENT, AS IS AND REVERSE; KEEP “DON’T KNOW /
   UNSURE” LAST]
           Not at all likely [TERMINATE]
           Not likely [TERMINATE]
           Neither unlikely nor likely [TERMINATE]
           Somewhat likely
           Very likely [TERMINATE]
           Don’t know / Unsure [TERMINATE]




                                              F.1-10
Case 4:20-cv-00957-SDJ Document 688-2 Filed 11/25/24 Page 40 of 228 PageID #:
                                   31299
            HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


 Main Questionnaire
 Q1. You have been selected to answer questions about advertising practices used by your
     business unit, or the team you work on. For each question, if you don’t know or are unsure,
     please don’t guess. Simply indicate this in your response by selecting the “Don’t know /
     Unsure” option. There are no right or wrong answers.

      Also, you should complete this survey without stopping in the middle. Please make sure
      not to consult anyone; use your browser’s “Back” button; or open another browser while
      working on this survey.

 Use of Ad Agencies

 Q2. Do you or do you not use an ad agency for digital advertising? (Please select one option.)

 [FLIP ORDER PER RESPONDENT, AS IS AND REVERSE; KEEP “DON’T KNOW /
 UNSURE” LAST]

         Yes, I use an ad agency for digital advertising
         No, I do not use an ad agency for digital advertising
         Don’t know / Unsure

 Q3. [IF RESPONDENT SELECTED “YES” IN Q2] For which, if any, of the following do
     you use an ad agency? (Please select all that apply.)

 [RANDOMIZE ORDER; KEEP “OTHER,” “NONE OF THE ABOVE,” AND “DON’T
 KNOW / UNSURE” LAST]
        Content and/or creatives
        Consulting services
        Media/marketing strategies
        Allocating advertising funds across advertising types
        Budgeting decisions
        Customer research
        Implementation of advertising (e.g., placing bids, interacting with DSPs)
        Tracking advertising performance
        Inventory access
        Running advertising tests/experiments
        Other (specify): [INSERT TEXT BOX]
        None of the above [EXCLUSIVE]
        Don’t know / Unsure [EXCLUSIVE]




                                             F.1-11
Case 4:20-cv-00957-SDJDocument 688-2 Filed 11/25/24 Page 41 of 228 PageID #:
                                  31300
           HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


 Budget Allocation and Substitution

 Q4. The following questions pertain to digital advertising.

      Previously, you mentioned that your business unit/team has used the following types of
      digital advertising in the past year. What is your best estimate of the share of your
      business unit/team’s digital advertising budget that was used for each of these types of
      advertising in the past year? Specifically, please allocate 100% across the different types of
      digital advertising shown below based on the share of your total digital advertising budget
      spent on each type. The total should add up to 100%.

      To review the advertising type descriptions, hover your mouse over each digital advertising
      type.

      (Please enter a number from 0 to 100 in each cell, or select “Don’t know / Unsure.” Please
      make sure that numbers add up to 100.)

      [SHOW ALL ANSWER OPTIONS SELECTED IN QS12 AND QS13 WITH TEXT
      BOX REQUIRING WHOLE NUMBER BETWEEN 0 AND 100. RANDOMIZE
      ORDER; KEEP “OTHER” AND “DON’T KNOW / UNSURE” LAST. SHOW
      RUNNING TOTAL AT THE BOTTOM OF THE PAGE WITH THE SUM OF THE
      NUMBERS ENTERED]

      [DISPLAY DESCRIPTIONS FROM QS12 AND QS13 WHEN RESPONDENT
      HOVERS OVER TYPE OF ADVERTISING]

      [THE SUM OF ALL NUMBERS MUST EQUAL 100. IF RESPONDENT CLICKS
      “NEXT” AND THE SUM OF THE NUMBERS IS NOT EQUAL TO 100, SHOW
      THE FOLLOWING ERROR MESSAGE: “Sorry, your answers do not add up to 100.
      Please try again.”]

      [FOR ALL OTHER ERRORS, DISPLAY THE FOLLOWING ERROR MESSAGE:
      “Please specify a whole number in each cell, and do not leave any cell blank. Please enter 0
      if you do not spend any portion of your advertising budget on a type of advertising.”]

       Search:
       Programmatic Display:
       Direct Deals Display:
       Email:
       Digital Audio:
       Social:
       App/In-app:
       Digital Video:
       Connected TV:


                                              F.1-12
Case 4:20-cv-00957-SDJ Document 688-2 Filed 11/25/24 Page 42 of 228 PageID #:
                                   31301
            HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


       eCommerce Platforms:
       Other
                                                [SHOW SUM OF NUMBERS
       TOTAL
                                                ABOVE]

     Don’t know / Unsure [EXCLUSIVE]

 Q5. Please read carefully. Now suppose that, based on your analysis, the cost of programmatic
     display advertising has recently increased by a small but significant amount, and will
     remain elevated for the foreseeable future. Assume further that, based on similar
     analyses for other digital advertising types, the costs of other digital advertising types
     have not changed and are not expected to change.

      So if the cost of programmatic display advertising increases (while the cost of other
      advertising types remains the same), will you or won’t you divert some of your advertising
      spending for the coming year to other types of digital advertising?

      [FLIP ORDER PER RESPONDENT, AS IS AND REVERSE; KEEP “DON’T
      KNOW / UNSURE” LAST]

         Yes, I will divert some of my advertising spending for the coming year to other types
          of digital advertising.
         No, I will not divert any of my advertising spending for the coming year to other
          types of digital advertising. [SKIP TO Q8]
         Don’t know / Unsure [SKIP TO Q8]

 Q6. To which other types of digital advertising below, if any, would you divert your advertising
     spending for the coming year as a result of the increase in the cost of programmatic
     display advertising?

      To review the advertising type descriptions, hover your mouse over each digital advertising
      type.

      (Please select all that apply.)

      [DISPLAY DESCRIPTIONS FROM QS12 AND QS13 WHEN RESPONDENT
      HOVERS OVER TYPE OF ADVERTISING. RANDOMIZE ORDER; KEEP
      “OTHER,” “NONE OF THE ABOVE,” AND “DON’T KNOW / UNSURE” LAST.]

           Search
           Direct Deals Display
           Email
           Digital Audio
           Social
           App/In-App
           Digital Video


                                             F.1-13
Case 4:20-cv-00957-SDJ Document 688-2 Filed 11/25/24 Page 43 of 228 PageID #:
                                   31302
            HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


           Connected TV
           eCommerce Platforms
           Other
           None of the above [EXCLUSIVE] [SKIP TO Q8]
           Don’t know / Unsure [EXCLUSIVE] [SKIP TO Q8]


 Q7. In your previous answer, you indicated that the increase in the cost of programmatic
     display advertising will lead you to divert some of your advertising spending to the types of
     digital advertising listed below.

      Please use the sliders below to indicate, on a scale of 0 to 10, the extent to which you
      would divert (that is, increase) advertising spending for the coming year to each type of
      digital advertising that you just indicated.

      For each digital advertising type below, please select 0 if you expect to keep spending on
      that type of digital advertising for the coming year and 10 if you expect to substantially
      increase spending on that type of digital advertising.

      To review the advertising type descriptions, hover your mouse over each digital advertising
      type.

      [SHOW ANSWER OPTIONS SELECTED IN Q6. MATCH ORDER OF
      RESPONSES TO Q6. FOR EACH ADVERTISING TYPE, SHOW SLIDER FROM 0
      TO 10, LABEL 0 “KEEP THE SAME” AND 10 “SUBSTANTIALLY INCREASE.”
      INCLUDE OPTION FOR “DON’T KNOW / UNSURE”.]

      [DISPLAY DESCRIPTIONS FROM QS12 AND QS13 WHEN RESPONDENT
      HOVERS OVER TYPE OF ADVERTISING]

       Search                   [INSERT SLIDER]              Don’t know / Unsure
       Direct Deals Display     [INSERT SLIDER]              Don’t know / Unsure
       Email                    [INSERT SLIDER]              Don’t know / Unsure
       Digital Audio            [INSERT SLIDER]              Don’t know / Unsure
       Social                   [INSERT SLIDER]              Don’t know / Unsure
       App/In-app               [INSERT SLIDER]              Don’t know / Unsure
       Digital Video            [INSERT SLIDER]              Don’t know / Unsure
       Connected TV             [INSERT SLIDER]              Don’t know / Unsure
       eCommerce Platforms      [INSERT SLIDER]              Don’t know / Unsure
       Other                    [INSERT SLIDER]              Don’t know / Unsure




                                              F.1-14
Case 4:20-cv-00957-SDJDocument 688-2 Filed 11/25/24 Page 44 of 228 PageID #:
                                  31303
           HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


 Use of Ad Buying Tools for Programmatic Display (Multihoming)

 Q8. An ad buying tool is a programmatic advertising platform that allows advertisers and media
     buying agencies to bid automatically on display ad inventory from a wide range of
     publishers. Some ad buying tools can also be used to buy video and search ad inventory.
     Ad buying tools include demand side platforms, or “DSPs.”

      Which of the following ad buying tools, if any, have you and/or your business unit/team
      used during the past year for programmatic display advertising? (Please select all that
      apply.)

      [RANDOMIZE ORDER; KEEP “OTHER” AND “DON’T KNOW / UNSURE”
      LAST]
             Google Ads
             Google Display and Video 360 (DV360)
             illumin (formerly AcuityAds)
             Adelphic
             Adform
             Adobe Advertising Cloud
             Amazon DSP
             Amobee
             Basis by Centro
             Beeswax
             Criteo
             MediaMath DSP
             Outbrain
             Quantcast
             Simpli.fi
             StackAdapt
             Taboola
             The Trade Desk DSP
             Yahoo DSP (formerly Verizon Media DSP)
             Xandr Invest
             Zeta Global
             Quorexx
             Ad Step Technologies
             Other (please specify): [TEXT BOX]
             Don’t know / Unsure [EXCLUSIVE] [SKIP TO Q17]

      [ADD FOLLOWING TEXT AS HOVER OVER FOR ALL INSTANCES OF “AD
      BUYING TOOL” IN FOLLOWING QUESTIONS: An ad buying tool is a
      programmatic advertising platform that allows advertisers and media buying agencies to
      bid automatically on display ad inventory from a wide range of publishers. Some ad buying
      tools can also be used to buy video and search ad inventory Ad buying tools include
      demand side platforms, or “DSPs.”.]




                                            F.1-15
Case 4:20-cv-00957-SDJDocument 688-2 Filed 11/25/24 Page 45 of 228 PageID #:
                                  31304
           HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


 Q9. [IF MORE THAN ONE AD BUYING TOOL IS SELECTED IN Q8] Why did you
     and/or your business unit/team use more than one ad buying tool for programmatic
     display advertising in the past year? (Please type in your response, or select “Don’t know
     / Unsure”.)

      [INSERT TEXT BOX]
      [REQUIRE AT LEAST 4 CHARACTERS; IF ENTRY IS LESS THAN 4
      CHARACTERS, SHOW ERROR “Please be thorough in your response.”]
          Don’t know / Unsure [EXCLUSIVE]

 Q10. Do you and/or your business unit/team expect to use the same number, more, or fewer ad
      buying tools for programmatic display advertising next year? (Please select only one
      option.)

      [RANDOMIZE ORDER; KEEP “DON’T KNOW / UNSURE” LAST]
          I expect to use more ad buying tools for programmatic display advertising next
           year.
          I expect to use fewer ad buying tools for programmatic display advertising next
           year.
          I expect to use the same number of ad buying tools for programmatic display
           advertising next year.
          Don’t know / Unsure

 Q11. [IF MORE OR FEWER IS SELECTED IN Q10] You indicated that, compared to the
      past year, you expect to use [PIPE IN BASED ON ANSWER IN Q10: “more” or
      “fewer”] ad buying tools for programmatic display advertising next year. Why do you
      and/or your business unit/team expect to use [PIPE IN BASED ON ANSWER IN Q10:
      “more” or “fewer”] ad buying tools for programmatic display advertising next year?
      (Please type in your response, or select “Don’t know / Unsure”.)

      [INSERT TEXT BOX]
      [REQUIRE AT LEAST 4 CHARACTERS; IF ENTRY IS LESS THAN 4
      CHARACTERS, SHOW ERROR “Please be thorough in your response.”]
          Don’t know / Unsure [EXCLUSIVE]




                                             F.1-16
Case 4:20-cv-00957-SDJDocument 688-2 Filed 11/25/24 Page 46 of 228 PageID #:
                                  31305
           HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


 Q12. Which of the following factors, if any, do you and/or your business unit/team consider
      when deciding to use a particular ad buying tool for programmatic display advertising?
      (Please select all that apply.)

      [RANDOMIZE ORDER; KEEP “OTHER” AND “DON’T KNOW / UNSURE”
      LAST]
          Ad placement effectiveness
          Audience scale / Reach
          Ease of use / User interface
          Targeting criteria and capabilities
          Reporting features
          Forecasting tools
          Budget management tools
          API and integrations
          Troubleshooting capabilities
          Media optimization of placements during a campaign
          Brand safety / fraud protection
          Identity management
          Support
          Cost
          Other (please specify): [TEXT BOX]
          Don’t know / Unsure [EXCLUSIVE]

 Q13. Have you and/or your business unit/team stopped using any ad buying tool(s) for
      programmatic display advertising in the past year? (Please select only one option.)

      [RANDOMIZE ORDER; KEEP “DON’T KNOW / UNSURE” LAST]

           Yes, I and/or my business unit/team stopped using at least one ad buying tool in the
            past year.
           No, I and/or my business unit/team have not stopped using any ad buying tools in
            the past year. [SKIP TO Q15]
           Don’t know / Unsure [SKIP TO Q15]

 Q14. [IF YES IN Q13] You indicated that you and/or your business unit/team stopped using at
      least one ad buying tool in the past year for programmatic display advertising. What
      factors led you and/or your business unit/team to stop using one or more ad buying tools
      for programmatic display advertising? (Please type your response in the text box below,
      or select “Don’t know / Unsure”.)

      [INSERT TEXT BOX]
      [REQUIRE AT LEAST 4 CHARACTERS; IF ENTRY IS LESS THAN 4
      CHARACTERS, SHOW ERROR “Please be thorough in your response.”]
          Don’t know / Unsure [EXCLUSIVE]




                                             F.1-17
Case 4:20-cv-00957-SDJ Document 688-2 Filed 11/25/24 Page 47 of 228 PageID #:
                                   31306
            HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


 Q15. Have you and/or your business unit/team started using any ad buying tool(s) in the past
      year for programmatic display advertising? (Please select only one option.)
      [RANDOMIZE ORDER; KEEP “DON’T KNOW / UNSURE” LAST]

           Yes, I and/or my business unit/team started using at least one ad buying tool in the
            past year.
           No, I and/or my business unit/team have not started using any ad buying tools in
            the past year.
           Don’t know / Unsure

 Q16. [IF YES IN Q15] You indicated that you and/or your business unit/team started using at
      least one ad buying tool in the past year for programmatic display advertising. What
      factors led you and/or your business unit/team to start using one or more ad buying tools
      for programmatic display advertising? (Please type your response in the text box below,
      or select “Don’t know / Unsure”.)

      [INSERT TEXT BOX]
      [REQUIRE AT LEAST 4 CHARACTERS; IF ENTRY IS LESS THAN 4
      CHARACTERS, SHOW ERROR “Please be thorough in your response.”]
          Don’t know / Unsure [EXCLUSIVE]




                                             F.1-18
Case 4:20-cv-00957-SDJ Document 688-2 Filed 11/25/24 Page 48 of 228 PageID #:
                                   31307
            HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


 Measuring Performance

 Q17. [ONLY INCLUDE ADVERTISING TYPES SELECTED IN QS12 AND QS13] Which
      of the following metrics, if any, are you and/or your business unit/team using to assess the
      performance of programmatic display ads, direct deals display ads, social media ads,
      and/or digital video ads?

      To review the advertising type descriptions, hover your mouse over each digital advertising
      type. (Please select all that apply in each column.)

      [DISPLAY DESCRIPTIONS FROM QS12 WHEN RESPONDENT HOVERS OVER
      TYPE OF ADVERTISING]

      [RANDOMIZE ORDER OF ROWS; KEEP “OTHER,” “NONE OF THE ABOVE,”
      AND “DON’T KNOW / UNSURE” LAST. RANDOMIZE ORDER OF COLUMNS]

                   Metric                Programmatic      Direct deals    Social       Digital
                                          display ads      display ads    media ads    video ads
       Impressions                                                                      
       Clicks                                                                           
       Conversions                                                                      
       Cost per impression (CPM)                                                        
       Cost per click (CPC)                                                             
       Cost per action (CPA)                                                            
       Return on Ad Spend (ROAS)                                                        
       Return on Investment (ROI)                                                       
       Click through rate (CTR)                                                         
       Other (please specify):                                                          
       [TEXT BOX]
       None of the above                                                                
       [EXCLUSIVE]
       Don’t know / Unsure                                                              
       [EXCLUSIVE]

 Q18. [ONLY IF MORE THAN ONE METRIC FOR PROGRAMMATIC DISPLAY ADS
      ARE SELECTED IN Q17] You indicated that you and/or your business unit/team use the
      following metrics to assess the performance of programmatic display ads. Please rank
      these metrics in terms of how important they are to accurately assessing the
      performance of programmatic display ads, with 1 being the most important and
      [NUMBER OF MEASURES SELECTED IN Q17] being the least important. (Please
      rank the following metrics, or select “Don’t know / Unsure”.)

      [HAVE RESPONDENTS ASSIGN A RANK FROM 1 TO THE NUMBER OF
      RESPONSES SELECTED IN Q17 FOR EACH PERFORMANCE METRIC]
          Don’t know / Unsure [EXCLUSIVE]



                                              F.1-19
Case 4:20-cv-00957-SDJ Document 688-2 Filed 11/25/24 Page 49 of 228 PageID #:
                                   31308
            HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


 Q19. How often, if at all, do you and/or your business unit/team measure or assess the
      performance of your programmatic display advertising? (Please select only one option.)

      If you are using an ad agency and they are responsible for measuring or assessing
      performance of your programmatic display advertising, please indicate how often you
      receive information about the performance of your programmatic display advertising from
      the agency.

      [RANDOMIZE ORDER AS IS AND REVERSE; KEEP “DON’T KNOW /
      UNSURE” LAST]

           Daily
           Weekly
           Monthly
           Quarterly
           Annually
           Don’t know / Unsure

 Q20. In the past year, have you and/or your business unit/team run any experimental or test &
      learn initiatives on your programmatic display ads? (Please select only one option.)
      [RANDOMIZE ORDER AS IS AND REVERSE; KEEP “DON’T KNOW /
      UNSURE” LAST]

           Yes
           No [SKIP TO QF1]
           Don’t know / Unsure [SKIP TO QF1]

 Q21. Which of the following types of experiments or test & learn initiatives, if any, have you
      and/or your business unit/team run in the past year on your programmatic display ads?

      I and/or my business unit/team have run experiments and/or test & learn initiatives
      testing… (Please select all that apply.)

      [RANDOMIZE ORDER; KEEP “OTHER” AND “DON’T KNOW / UNSURE”
      LAST]

           Creatives
           Bid strategies
           Audiences
           Publishers
           Ad buying tool performance
           ROI/ROAS
           Other (please specify): [TEXT BOX]
           Don’t know / Unsure [EXCLUSIVE]




                                              F.1-20
Case 4:20-cv-00957-SDJDocument 688-2 Filed 11/25/24 Page 50 of 228 PageID #:
                                  31309
           HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


 Follow Up Question

 QF1. This survey is being conducted by consultants that have been retained on behalf of Google
      in connection with pending antitrust lawsuits in which the plaintiffs allege that Google
      engaged in anticompetitive conduct related to digital advertising.

       If you are willing to participate in this survey, please click “Include my responses” below.
       As a reminder, your responses will be kept anonymous and will be analyzed as part of a
       larger sample of responses.

       If you do not want to participate in this survey, please click “Exclude my responses”
       below.

       [RANDOMIZE ORDER]

            Include my responses
            Exclude my responses




                                              F.1-21
   Case 4:20-cv-00957-SDJ
                        Document 688-2 Filed 11/25/24 Page 51 of 228 PageID #:
                                    31310
           HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




          APPENDIX F.2
HIGHER-SPEND ADVERTISER SURVEY
         SCREENSHOTS




                                    F.2-1
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 52 of 228 PageID #:
                                 31311
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


                     INTRODUCTION AND SCREENING




                                 F.2-2
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 53 of 228 PageID #:
                                 31312
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                                 F.2-3
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 54 of 228 PageID #:
                                 31313
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                                 F.2-4
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 55 of 228 PageID #:
                                 31314
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                                 F.2-5
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 56 of 228 PageID #:
                                 31315
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                                 F.2-6
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 57 of 228 PageID #:
                                 31316
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                                 F.2-7
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 58 of 228 PageID #:
                                 31317
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                                 F.2-8
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 59 of 228 PageID #:
                                 31318
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                                 F.2-9
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 60 of 228 PageID #:
                                 31319
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                                 F.2-10
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 61 of 228 PageID #:
                                 31320
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                                 F.2-11
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 62 of 228 PageID #:
                                 31321
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                                 F.2-12
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 63 of 228 PageID #:
                                 31322
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                                 F.2-13
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 64 of 228 PageID #:
                                 31323
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                                 F.2-14
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 65 of 228 PageID #:
                                 31324
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                                 F.2-15
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 66 of 228 PageID #:
                                 31325
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                                 F.2-16
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 67 of 228 PageID #:
                                 31326
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                                 F.2-17
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 68 of 228 PageID #:
                                 31327
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


                         MAIN QUESTIONNAIRE




                                 F.2-18
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 69 of 228 PageID #:
                                 31328
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                                 F.2-19
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 70 of 228 PageID #:
                                 31329
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                                 F.2-20
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 71 of 228 PageID #:
                                 31330
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                                 F.2-21
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 72 of 228 PageID #:
                                 31331
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                                 F.2-22
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 73 of 228 PageID #:
                                 31332
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                                 F.2-23
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 74 of 228 PageID #:
                                 31333
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                                 F.2-24
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 75 of 228 PageID #:
                                 31334
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                                 F.2-25
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 76 of 228 PageID #:
                                 31335
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                                 F.2-26
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 77 of 228 PageID #:
                                 31336
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                                 F.2-27
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 78 of 228 PageID #:
                                 31337
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                                 F.2-28
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 79 of 228 PageID #:
                                 31338
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                                 F.2-29
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 80 of 228 PageID #:
                                 31339
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                                 F.2-30
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 81 of 228 PageID #:
                                 31340
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                                 F.2-31
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 82 of 228 PageID #:
                                 31341
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                                 F.2-32
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 83 of 228 PageID #:
                                 31342
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                                 F.2-33
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 84 of 228 PageID #:
                                 31343
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                                 F.2-34
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 85 of 228 PageID #:
                                 31344
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                                 F.2-35
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 86 of 228 PageID #:
                                 31345
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                                 F.2-36
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 87 of 228 PageID #:
                                 31346
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                                 F.2-37
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 88 of 228 PageID #:
                                 31347
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                                 F.2-38
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 89 of 228 PageID #:
                                 31348
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


                         FOLLOW UP QUESTION




                                 F.2-39
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 90 of 228 PageID #:
                                 31349
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                                 F.2-40
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 91 of 228 PageID #:
                                 31350
          HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




       APPENDIX F.3
 HIGHER-SPEND ADVERTISER
    SURVEY RAW DATA




                                   F.3-1
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 92 of 228 PageID #:
                                 31351
          HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




          PRODUCED AS NATIVE




                                   F.3-2
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 93 of 228 PageID #:
                                 31352
          HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




        APPENDIX G
  LOWER-SPEND ADVERTISER
          SURVEY
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 94 of 228 PageID #:
                                 31353
          HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




       APPENDIX G.1
  LOWER-SPEND ADVERTISER
      SURVEY SCRIPT




                                   G.1-1
Case 4:20-cv-00957-SDJ Document 688-2 Filed 11/25/24 Page 95 of 228 PageID #:
                                   31354
            HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


                             Lower-Spend Advertiser Survey
                   Screener and Main Survey Programmer Instructions

    LEGEND:

    [PROGRAMMER NOTES IN BOLD CAPS AND BRACKETS]
    Notes to respondent in italics

    FORMAT: The survey consists of the following sections:

       Introduction & Screening (questions labeled QS)
       Main Survey Questions (questions labeled Q)
       Follow-Up Questions (questions labeled QF)

 Overview
   [NO RESPONDENTS TO BE CONTACTED AT COMPANIES FROM THE LIST OF
   ENTITIES TO BE EXCLUDED]
   [PANEL CONSISTS OF RESPONDENTS WHO ARE 18+, BASED IN THE U.S., AND
   WHOSE JOB FUNCTION RELATES TO MARKETING AND/OR ADVERTISING]
   [TARGET 300 COMPLETES]
   [DISABLE THE BROWSER’S “BACK” BUTTON AND DO NOT SHOW A “BACK”
   BUTTON WITHIN THE SURVEY]
   [FORCE RESPONSES TO ANSWER ALL QUESTIONS UNLESS OTHERWISE
   SPECIFIED]
   [DISPLAY ONE QUESTION PER PAGE UNLESS OTHERWISE SPECIFIED]
   [NO SURVEY OR SECTION TITLES TO BE DISPLAYED TO RESPONDENTS]
   [DIGITAL FINGERPRINTING SHOULD BE USED TO AVOID REPEAT
   PARTICIPATION]
   [TEXT FOR TERMINATES: “THANK YOU FOR YOUR INTEREST IN OUR STUDY.
   YOU DO NOT QUALIFY FOR THIS STUDY. WE APPRECIATE YOUR TIME.”]




                                          G.1-2
Case 4:20-cv-00957-SDJ Document 688-2 Filed 11/25/24 Page 96 of 228 PageID #:
                                   31355
            HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


 Introduction and Screening

   QS1. Please enter the code exactly as it appears in the box below, and then click “Continue”
        to continue.
   [INSERT CAPTCHA; TERMINATE AFTER THREE INCORRECT ATTEMPTS]

   QS2. Thank you for participating in our study. Your opinions are very important to us. If you
        don’t know an answer to a question or if you don’t have an opinion, please don’t guess.
        Simply indicate this in your response by selecting the “Don’t know / Unsure” option.
        There are no right or wrong answers.

          Your responses will be kept anonymous and will be analyzed as part of a larger sample
          of responses. The results of this study will not be used to try to sell you anything.

          If you wear glasses or corrective lenses when using a desktop computer, laptop
          computer, or tablet, please wear them throughout the survey.

          Please do not use the “Back” button of your browser while taking the survey. When
          you are ready to get started, please select the “Continue” button.

   QS3. What is your age? (Please select only one option.)

   [FLIP ORDER PER RESPONDENT, AS IS AND REVERSE; KEEP “PREFER NOT
   TO ANSWER” LAST]
     Under 18 [TERMINATE]
     18 - 34
     35 - 49
     50 - 64
     65 or above
     Prefer not to answer [TERMINATE]

   QS4. What is your gender? (Please select only one option.)
   [RANDOMIZE; KEEP “OTHER” AND “PREFER NOT TO ANSWER” LAST]
     Male
     Female
     Other: [INSERT TEXT BOX]
     Prefer not to answer




                                              G.1-3
Case 4:20-cv-00957-SDJ Document 688-2 Filed 11/25/24 Page 97 of 228 PageID #:
                                   31356
            HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


   QS5. In which state do you live? (Please select only one option.)
   [INSERT DROP DOWN MENU OF ALL 50 STATES AND DC, PLUS “OTHER” AND
   “DON’T KNOW / UNSURE”]
   [TERMINATE IF “OTHER” OR “DON’T KNOW / UNSURE” IS SELECTED]

   QS6. Which of the following do you have any involvement in as part of your job
        responsibilities? (Please select all that apply.)

   [RANDOMIZE; KEEP “OTHER” LAST]

       Hiring/HR
       IT/Tech
       Business intelligence/Data science
       Sales or account management
       Accounting/Finance
       Advertising or Marketing
       Website/Mobile App design/development
       Customer relationship management
       Data analysis/statistics
       Other (specify):

    [TERMINATE IF “Advertising or Marketing” IS NOT SELECTED]

   QS7. Which of the following best characterizes the type of company you work for? (Please
        select only one option.)
   [RANDOMIZE; KEEP “OTHER” LAST]
     Products/Services Business – your company sells products or services and
      advertises/markets its products or services
     Creative Agency – your company designs or produces marketing content and/or advises
      clients on their creative media/marketing strategies [TERMINATE]
     Media Agency – your company advises clients on their media/marketing strategies and/or
      how to spend their advertising funds [TERMINATE]
     Full Service Agency – your company handles both Creative and Media strategy and/or
      execution [TERMINATE]
     Other (please describe): [INSERT TEXT BOX] [TERMINATE]




                                             G.1-4
Case 4:20-cv-00957-SDJ Document 688-2 Filed 11/25/24 Page 98 of 228 PageID #:
                                   31357
            HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


   QS8. Which of the following, if any, best characterizes the market sector/industry your
        company is in? (Please select only one option.)
   [DO NOT RANDOMIZE]
     Advertising or Marketing
     Apparel/Fashion
     Automotive
     B2B/Services for Businesses
     Consumer Electronics
     Education
     Financial Products/Services for Consumers (including Fintech)
     Food and Beverage
     Government
     Health and Beauty Products
     Home Products/Appliances
     Health Care or Medical Services
     Media and Entertainment
     Non-Profit
     Pharmaceuticals and Remedies (Rx or OTC)
     Restaurants
     Retail (including Ecommerce)
     Telecommunications
     Travel and Hospitality
     Other (Please describe): [INSERT TEXT BOX]

   QS9. Which of the following best characterizes your current job title/level? (Please select
        only one option.)
   [RANDOMIZE; KEEP “OTHER” LAST]
         C-Level (CEO, COO, CMO, etc.)
         Vice President, SVP, EVP, President, etc.
         Director
         Supervisor/Department Head/Group Manager
         Manager
         Strategist
         Associate
         Analyst
         Buyer
         Planner
         Other (please describe): [INSERT TEXT BOX]




                                              G.1-5
Case 4:20-cv-00957-SDJ Document 688-2 Filed 11/25/24 Page 99 of 228 PageID #:
                                   31358
            HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER



   QS10. Approximately how much did your company spend in the last 12 months on all
         advertising, including all digital types (e.g., display, video, audio, social) plus all
         nondigital types (e.g., TV types, print, OOH, etc.)? (Please select only one option.)
   [FLIP ORDER PER RESPONDENT, AS IS AND REVERSE; KEEP “DON’T KNOW /
   UNSURE” LAST]
     Less than $10,000
     $10,000 to less than $25,000
     $25,000 to less than $50,000
     $50,000 to less than $100,000
     $100,000 to less than $250,000
     $250,000 to less than $500,000
     $500,000 to less than $1 million [TERMINATE]
     $1 million to less than $3 million [TERMINATE]
     $3 million to less than $7 million [TERMINATE]
     $7 million to less than $15 million [TERMINATE]
     $15 million to less than $30 million [TERMINATE]
     $30 million to less than $50 million [TERMINATE]
     $50 million to less than $100 million [TERMINATE]
     $100 million to less than $250 million [TERMINATE]
     $250 million to less than $500 million [TERMINATE]
     $500 million or more [TERMINATE]
     Don’t know / Unsure [TERMINATE]

   QS11. Please think about your total advertising budget. In the past year, what percentage of
         your total advertising budget was used for digital (online) advertising, as opposed to
         offline advertising? Please give your best estimate. (Please enter a number from 0 to
         100 for each type of advertising, or select “Don’t know / Unsure.” Values must add up
         to 100%)

      [FOR ERRORS, DISPLAY THE FOLLOWING ERROR MESSAGE: “Please enter a
      whole number between 0 and 100 for each advertising type, or select “Don’t know /
      Unsure.” Values must add up to 100”][SHOW TOTAL AT BOTTOM]

      [RANDOMIZE ORDER, KEEP “DON’T KNOW / UNSURE” LAST]

      Percentage of budget spent on digital (online) advertising last year:
      Percentage of budget spent on offline advertising last year:
      TOTAL                                          [SHOW SUM OF NUMBERS ABOVE]

         Don’t know / Unsure [EXCLUSIVE]

      [TERMINATE IF DIGITAL (ONLINE) = 0]




                                                G.1-6
Case 4:20-cv-00957-SDJ Document 688-2 Filed 11/25/24 Page 100 of 228 PageID
                                 #: 31359
           HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


  QS12. Which of the following types of digital advertising, if any, have you used in the past
        year? Please review the description of each advertising type carefully. (Please select
        all that apply.)

       [RANDOMIZE ORDER; KEEP “OTHER” AND “DON’T KNOW / UNSURE”
       LAST]

        Advertising Type                Description
       Search                          Digital ads placed on search engine result pages. Ads
                                        generally consist of a headline, description, and a link
                                        to the destination URL.
       Display                         Digital ads made up of text, image, video, and/or other
                                        multimedia components that typically appear along the
                                        top or sides of a website, or sometimes in the middle of
                                        other content on a website. Examples of display ad
                                        formats include banner ads, animations, and interactive
                                        content. Display ads do not include ads placed on
                                        social media platforms.
       Email                           Digital ads sent via email to current and potential
                                        customers.
       Digital Audio                   Recorded advertisements that play between or during
                                        songs, podcasts, or other digital audio content.
       Social                          Digital ads placed on social media platforms such as
                                        Facebook, Instagram, LinkedIn, Snapchat, and Twitter.
       App/In-App                      Digital ads placed and displayed within mobile apps.
                                        Does not include ads placed on social media platforms.
       Digital Video                   Includes video ads that appear before, during, or after
                                        digital content in a video player, such as YouTube.
       Connected TV                    Includes digital advertising that appears on home
                                        screens of CTV devices and in-stream video ads that
                                        appear on CTVs from platforms like Hulu, Roku and
                                        YouTube. CTVs are TV sets connected to the internet
                                        through built-in internet capability or through another
                                        device such as a Blu-ray player, game console, set-top
                                        box (e.g., Apple TV, Google Chromecast, Roku), etc.
       eCommerce Platforms             Digital ads that appear on eCommerce platforms, such
                                        as Amazon.com or Instacart.
       Other (specify and explain):
        [INSERT TEXT BOX]
        Don’t know / Unsure [EXCLUSIVE]

   [TERMINATE IF “DISPLAY” IS NOT SELECTED]




                                             G.1-7
Case 4:20-cv-00957-SDJ  Document 688-2 Filed 11/25/24 Page 101 of 228 PageID
                                  #: 31360
            HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


  QS13. In which of the following ways have you personally been involved in your company’s
        digital display advertising efforts in the last 12 months? (Select all that apply.)
  [RANDOMIZE; KEEP “NONE OF THE ABOVE” AND “DON’T KNOW / UNSURE”
  LAST]
           I determine overall strategies and/or budgets for digital display.
           I determine which tools and/or platforms to use for digital display.
           I regularly use self-serve ad platforms to manage digital display campaigns.
           I oversee a team/individuals that use(s) self-serve ad platforms to manage digital
            display campaigns.
           I regularly set up audience/target parameters for digital display campaigns.
           I measure results of digital display campaigns.
           None of the above [EXCLUSIVE] [TERMINATE]
           Don’t know / Unsure [EXCLUSIVE] [TERMINATE]

 [TERMINATE IF NONE OF “I determine overall strategies and/or budgets for digital
 display”, “I determine which tools and/or platforms to use for digital display”, “I regularly use
 self-serve ad platforms to manage digital display campaigns”, AND “I oversee a
 team/individuals that use(s) self-serve ad platforms to manage digital display campaigns” ARE
 SELECTED]

  QS14. This question is testing whether or not you’re paying attention while taking this survey.
        Please select “Somewhat likely” below. (Please select only one option.)
  [FLIP ORDER PER RESPONDENT, AS IS AND REVERSE; KEEP “DON’T KNOW /
  UNSURE” LAST]
           Not at all likely [TERMINATE]
           Not likely [TERMINATE]
           Neither unlikely nor likely [TERMINATE]
           Somewhat likely
           Very likely [TERMINATE]
           Don’t know / Unsure [TERMINATE]




                                               G.1-8
Case 4:20-cv-00957-SDJ Document 688-2 Filed 11/25/24 Page 102 of 228 PageID
                                 #: 31361
           HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


 Main Questionnaire
 Q1. You have been selected to answer questions about advertising practices you have used. For
     each question, if you don’t know or are unsure, please don’t guess. Simply indicate this in
     your response by selecting the “Don’t know / Unsure” option. There are no right or wrong
     answers.

      Also, you should complete this survey without stopping in the middle. Please make sure
      not to consult anyone; use your browser’s “Back” button; or open another browser while
      working on this survey.

 Use of Ad Agencies

 Q2. Do you or do you not use an ad agency and/or a consultant for digital advertising? (Please
     select one option.)

 [FLIP ORDER PER RESPONDENT, AS IS AND REVERSE; KEEP “DON’T KNOW /
 UNSURE” LAST]
        Yes, I use an ad agency and/or a consultant for digital advertising
        No, I do not use an ad agency and/or a consultant for digital advertising
        Don’t know / Unsure

 Q3. [IF RESPONDENT SELECTED “YES” IN Q2] For which, if any, of the following do
     you use an ad agency and/or a consultant? (Please select all that apply.)

 [RANDOMIZE ORDER; KEEP “OTHER,” “NONE OF THE ABOVE,” AND “DON’T
 KNOW / UNSURE” LAST]
        Content and/or creatives
        Consulting services
        Media/marketing strategies
        Allocating advertising funds across advertising types
        Budgeting decisions
        Customer research
        Implementation of advertising (e.g., placing bids, interacting with DSPs)
        Tracking advertising performance
        Inventory access
        Running advertising tests/experiments
        Other (specify): [INSERT TEXT BOX]
        None of the above [EXCLUSIVE]
        Don’t know / Unsure [EXCLUSIVE]




                                              G.1-9
Case 4:20-cv-00957-SDJ Document 688-2 Filed 11/25/24 Page 103 of 228 PageID
                                 #: 31362
           HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


 Advertising Channels and Usage

 Q4. You mentioned that you have used digital display advertising in the last 12 months.

      Digital display ads are digital ads made up of text, image, video and/or other multimedia
      components that typically appear along the top or sides of a website, or sometimes in the
      middle of other content on a website. Examples of display ad formats include banner ads,
      animations, and interactive content. Display ads do not include ads placed on social media
      platforms.

      Which of the following platforms, if any, have you used during the last 12 months for
      digital display advertising? (Please select all that apply)

  [RANDOMIZE ORDER; KEEP “OTHER,” “NONE OF THE ABOVE”, AND “DON’T
  KNOW / UNSURE” LAST]
          Google Ads
          Google Display and Video 360 (DV360)
          Adobe Advertising Cloud
          Amazon DSP
          Amobee
          MediaMath
          Quantcast
          The Trade Desk
          Yahoo DSP (formerly Verizon Media)
          Criteo
          Ad Step Technologies
          Other (please specify): [TEXT BOX]
          Don’t know / Unsure [EXCLUSIVE]

 Q5. [IF “SOCIAL” WAS SELECTED IN QS12] You indicated that you have used social
     advertising in the last 12 months.

      Social ads are digital ads placed on social media platforms such as Facebook, Instagram,
      LinkedIn, Snapchat, and Twitter.

      Which of the following platforms, if any, have you used during the last 12 months for
      social advertising? (Please select all that apply.)

      [RANDOMIZE ORDER; KEEP “OTHER,” “NONE OF THE ABOVE”, AND
      “DON’T KNOW / UNSURE” LAST]
          Facebook
          Instagram
          Pinterest
          Snapchat
          TikTok


                                             G.1-10
Case 4:20-cv-00957-SDJ  Document 688-2 Filed 11/25/24 Page 104 of 228 PageID
                                  #: 31363
            HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


           Twitter
           LinkedIn
           Reddit
           Tumblr
           FriendLinx
           Other social media platforms (specify): [INSERT TEXT BOX]
           Don’t know / Unsure [EXCLUSIVE]

 Q6. What factors do you consider when deciding where to buy digital ads from? (Please type
     your response in the text box below, or select “Don’t know / Unsure”.)

     [INSERT TEXT BOX]
     [REQUIRE AT LEAST 4 CHARACTERS; IF ENTRY IS LESS THAN 4
     CHARACTERS, SHOW ERROR “Please be thorough in your response.”]
     Don’t know / Unsure [EXCLUSIVE] [SKIP TO QS8]

 Q7. In addition to the factors you just mentioned, what other factors, if any, do you consider
     when deciding where to buy digital ads from?

     [INSERT TEXT BOX]
     [REQUIRE AT LEAST 4 CHARACTERS; IF ENTRY IS LESS THAN 4
     CHARACTERS, SHOW ERROR “Please be thorough in your response.”]
     Don’t know / Unsure [EXCLUSIVE]




                                              G.1-11
Case 4:20-cv-00957-SDJ Document 688-2 Filed 11/25/24 Page 105 of 228 PageID
                                 #: 31364
           HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


 Budget Allocation and Substitution

 Q8. The following questions pertain to digital advertising.

      Previously, you mentioned that you have used the following types of digital advertising in
      the past year. What is your best estimate of the share of your digital advertising spending
      that was used for each of these types of advertising in the past year? Specifically, please
      allocate 100% across the different types of digital advertising shown below based on the
      share of your total digital advertising spending on each type. The total should add up to
      100%.

      To review the advertising type descriptions, hover your mouse over each digital advertising
      type.

      (Please enter a number from 0 to 100 in each cell, or select “Don’t know / Unsure.” Please
      make sure that numbers add up to 100.)

      [SHOW ALL ANSWER OPTIONS SELECTED IN QS12 WITH TEXT BOX
      REQUIRING WHOLE NUMBER BETWEEN 0 AND 100. RANDOMIZE ORDER;
      KEEP “OTHER” AND “DON’T KNOW / UNSURE” LAST. SHOW RUNNING
      TOTAL AT THE BOTTOM OF THE PAGE WITH THE SUM OF THE NUMBERS
      ENTERED]

      [DISPLAY DESCRIPTIONS FROM QS12 WHEN RESPONDENT HOVERS OVER
      TYPE OF ADVERTISING]

      [THE SUM OF ALL NUMBERS MUST EQUAL 100. IF RESPONDENT CLICKS
      “NEXT” AND THE SUM OF THE NUMBERS IS NOT EQUAL TO 100, SHOW
      THE FOLLOWING ERROR MESSAGE: “Sorry, your answers do not add up to 100.
      Please try again.”]

      [FOR ALL OTHER ERRORS, DISPLAY THE FOLLOWING ERROR MESSAGE:
      “Please specify a whole number in each cell, and do not leave any cell blank. Please enter 0
      if you do not spend any portion of your advertising budget on a type of advertising.”]

       Search:
       Display:
       Email:
       Digital Audio:
       Social:
       App/In-App:
       Digital Video:
       Connected TV:
       eCommerce Platforms:


                                             G.1-12
Case 4:20-cv-00957-SDJ  Document 688-2 Filed 11/25/24 Page 106 of 228 PageID
                                  #: 31365
            HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


       Other
                                                [SHOW SUM OF NUMBERS
       TOTAL
                                                ABOVE]

     Don’t know / Unsure [EXCLUSIVE]

 Q9. Please read carefully. Now suppose that, based on your analysis, the cost of display
     advertising has recently increased by a small but significant amount, and will remain
     elevated for the foreseeable future. Assume further that, based on similar analyses for
     other digital advertising types, the costs of other digital advertising types have not
     changed and are not expected to change.

      So, if the cost of display advertising increases (while the cost of other advertising types
      remains the same), will you or won’t you divert some of your advertising spending for the
      coming year to other types of digital advertising?

      [FLIP ORDER PER RESPONDENT, AS IS AND REVERSE; KEEP “DON’T
      KNOW / UNSURE” LAST]

         Yes, I will divert some of my advertising spending for the coming year to other types
          of digital advertising
         No, I will not divert any of my advertising spending for the coming year to other
          types of digital advertising [SKIP TO Q12]
         Don’t know / Unsure [SKIP TO Q12]

 Q10. To which other types of digital advertising below, if any, would you divert your advertising
      spending for the coming year as a result of the increase in the cost of display advertising?

      To review the advertising type descriptions, hover your mouse over each digital advertising
      type.

      (Please select all that apply.)

      [RANDOMIZE ORDER; KEEP “OTHER,” “NONE OF THE ABOVE” AND
      “DON’T KNOW / UNSURE” LAST]

      [DISPLAY DESCRIPTIONS FROM QS12 WHEN RESPONDENT HOVERS OVER
      TYPE OF ADVERTISING]

           Search
           Email
           Digital Audio
           Social
           App/In-App
           Digital Video
           Connected TV


                                              G.1-13
Case 4:20-cv-00957-SDJ  Document 688-2 Filed 11/25/24 Page 107 of 228 PageID
                                  #: 31366
            HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


           eCommerce Platforms
           Other
           None of the above [EXCLUSIVE] [SKIP TO Q12]
           Don’t know / Unsure [EXCLUSIVE] [SKIP TO Q12]

 Q11. In your previous answer, you indicated that the increase in the cost of display advertising
      will lead you to divert some of your advertising spending to the types of digital advertising
      listed below.

      Please use the sliders below to indicate, on a scale of 0 to 10, the extent to which you
      would divert (that is, increase) advertising spending for the coming year to each type of
      digital advertising that you just indicated.

      For each digital advertising type below, please select 0 if you expect to keep spending on
      that type of digital advertising for the coming year and 10 if you expect to substantially
      increase spending on that type of digital advertising.

      To review the advertising type descriptions, hover your mouse over each digital advertising
      type.

      [SHOW ANSWER OPTIONS SELECTED IN Q10. MATCH ORDER OF
      RESPONSES TO Q10. FOR EACH ADVERTISING TYPE, SHOW SLIDER FROM
      0 TO 10, LABEL 0 “KEEP THE SAME” AND 10 “SUBSTANTIALLY INCREASE”.
      INCLUDE OPTION FOR “DON’T KNOW / UNSURE”.]

      [DISPLAY DESCRIPTIONS FROM QS12 WHEN RESPONDENT HOVERS OVER
      TYPE OF ADVERTISING]


       Search                    [INSERT SLIDER]              Don’t know / Unsure
       Email                     [INSERT SLIDER]              Don’t know / Unsure
       Digital Audio             [INSERT SLIDER]              Don’t know / Unsure
       Social                    [INSERT SLIDER]              Don’t know / Unsure
       App/In-app                [INSERT SLIDER]              Don’t know / Unsure
       Digital Video             [INSERT SLIDER]              Don’t know / Unsure
       Connected TV              [INSERT SLIDER]              Don’t know / Unsure
       eCommerce Platforms       [INSERT SLIDER]              Don’t know / Unsure
       Other                     [INSERT SLIDER]              Don’t know / Unsure




                                              G.1-14
Case 4:20-cv-00957-SDJ  Document 688-2 Filed 11/25/24 Page 108 of 228 PageID
                                  #: 31367
            HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


 Measuring Performance

 Q12. [ONLY INCLUDE ADVERTISING TYPES SELECTED IN QS12] Which of the
      following metrics, if any, are you using to assess the performance of display ads [IF
      “SOCIAL” WAS SELECTED IN QS12, and/or social media ads]?

      To review the advertising type descriptions, hover your mouse over each digital advertising
      type.
      (Please select all that apply in each column.)

      [RANDOMIZE ORDER OF ROWS, KEEP “OTHER,” “NONE OF THE ABOVE,”
      AND “DON’T KNOW / UNSURE” LAST. RANDOMIZE ORDER OF COLUMNS]

      [DISPLAY DESCRIPTIONS FROM QS12 WHEN RESPONDENT HOVERS OVER
      TYPE OF ADVERTISING]

                        Metric                        Display ads      Social media ads
       Impressions                                                            
       Clicks                                                                 
       Conversions                                                            
       Cost per impression (CPM)                                              
       Cost per click (CPC)                                                   
       Cost per action (CPA)                                                  
       Return on Ad Spend (ROAS)                                              
       Return on Investment (ROI)                                             
       Click through rate (CTR)                                               
       Other (please specify): [TEXT BOX]                                     
       None of the above [EXCLUSIVE]                                          
       Don’t know / Unsure [EXCLUSIVE]                                        

 Q13. [ONLY IF MORE THAN ONE METRIC UNDER DISPLAY ADS ARE SELECTED
      IN Q12] The following questions pertain to digital display advertising.

      You indicated that you use the following metrics to assess the performance of digital
      display ads. Please rank these metrics in terms of how important they are to accurately
      assessing the performance of digital display ads, with 1 being the most important and
      [NUMBER OF MEASURES SELECTED UNDER DISPLAY ADS IN Q12] being the
      least important. (Please rank the following metrics, or select “Don’t know / Unsure”)

      [HAVE RESPONDENTS ASSIGN A RANK FROM 1 TO THE NUMBER OF
      RESPONSES SELECTED UNDER DISPLAY ADS IN Q12 FOR EACH
      PERFORMANCE METRIC]
          Don’t know / Unsure [EXCLUSIVE]




                                             G.1-15
Case 4:20-cv-00957-SDJ  Document 688-2 Filed 11/25/24 Page 109 of 228 PageID
                                  #: 31368
            HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


 Q14. How often, if at all, do you assess the performance of your digital display advertising?
      (Please select only one option)

      If you are using an ad agency and/or a consultant and they are responsible for measuring or
      assessing performance of your display advertising, please indicate how often you receive
      information about the performance of your digital display advertising from the agency.

      [RANDOMIZE ORDER AS IS AND REVERSE; KEEP “DON’T KNOW /
      UNSURE” LAST]

     Daily
     Weekly
     Monthly
     Quarterly
     Annually
     Don’t know / Unsure

 Q15. In the past year, have you run any experiments or test & learn initiatives on your digital
      display ads? (Please select only one option.)

      [RANDOMIZE ORDER AS IS AND REVERSE; KEEP “DON’T KNOW /
      UNSURE” LAST]

     Yes
     No
     Don’t know / Unsure

 Q16. [IF “YES” IN Q15] Which of the following types of experiments or test & learn
      initiatives, if any, have you run in the past year on your digital display ads?

      I have run experiments and/or test & learn initiatives testing… (Please select all that
      apply.)

      [RANDOMIZE ORDER, KEEP “OTHER” AND “DON’T KNOW / UNSURE”
      LAST]

           Creatives
           Bid strategies
           Audiences
           Publishers
           Ad buying tool performance
           ROI/ROAS
           Other (please specify): [TEXT BOX]
           Don’t know / Unsure [EXCLUSIVE]




                                              G.1-16
Case 4:20-cv-00957-SDJ Document 688-2 Filed 11/25/24 Page 110 of 228 PageID
                                 #: 31369
           HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


 Follow Up Question

 QF1. This survey is being conducted by consultants that have been retained on behalf of Google
      in connection with pending antitrust lawsuits in which the plaintiffs allege that Google
      engaged in anticompetitive conduct related to digital advertising.

       If you are willing to participate in this survey, please click “Include my responses” below.
       As a reminder, your responses will be kept anonymous and will be analyzed as part of a
       larger sample of responses.

       If you do not want to participate in this survey, please click “Exclude my responses”
       below.

       [RANDOMIZE ORDER]

            Include my responses
            Exclude my responses




                                              G.1-17
   Case 4:20-cv-00957-SDJ
                        Document 688-2 Filed 11/25/24 Page 111 of 228 PageID
                                  #: 31370
           HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




         APPENDIX G.2
LOWER-SPEND ADVERTISER SURVEY
        SCREENSHOTS




                                    G.2-1
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 112 of 228 PageID
                               #: 31371
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


                     INTRODUCTION AND SCREENING




                                 G.2-2
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 113 of 228 PageID
                               #: 31372
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                                 G.2-3
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 114 of 228 PageID
                               #: 31373
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                                 G.2-4
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 115 of 228 PageID
                               #: 31374
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                                 G.2-5
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 116 of 228 PageID
                               #: 31375
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                                 G.2-6
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 117 of 228 PageID
                               #: 31376
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                                 G.2-7
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 118 of 228 PageID
                               #: 31377
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                                 G.2-8
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 119 of 228 PageID
                               #: 31378
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                                 G.2-9
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 120 of 228 PageID
                               #: 31379
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                                G.2-10
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 121 of 228 PageID
                               #: 31380
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                                G.2-11
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 122 of 228 PageID
                               #: 31381
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                                G.2-12
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 123 of 228 PageID
                               #: 31382
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                                G.2-13
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 124 of 228 PageID
                               #: 31383
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                                G.2-14
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 125 of 228 PageID
                               #: 31384
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                                G.2-15
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 126 of 228 PageID
                               #: 31385
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


                         MAIN QUESTIONNAIRE




                                G.2-16
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 127 of 228 PageID
                               #: 31386
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                                G.2-17
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 128 of 228 PageID
                               #: 31387
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                                G.2-18
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 129 of 228 PageID
                               #: 31388
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                                G.2-19
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 130 of 228 PageID
                               #: 31389
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                                G.2-20
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 131 of 228 PageID
                               #: 31390
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                                G.2-21
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 132 of 228 PageID
                               #: 31391
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                                G.2-22
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 133 of 228 PageID
                               #: 31392
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                                G.2-23
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 134 of 228 PageID
                               #: 31393
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                                G.2-24
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 135 of 228 PageID
                               #: 31394
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                                G.2-25
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 136 of 228 PageID
                               #: 31395
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                                G.2-26
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 137 of 228 PageID
                               #: 31396
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                                G.2-27
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 138 of 228 PageID
                               #: 31397
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                                G.2-28
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 139 of 228 PageID
                               #: 31398
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                                G.2-29
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 140 of 228 PageID
                               #: 31399
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                                G.2-30
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 141 of 228 PageID
                               #: 31400
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                                G.2-31
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 142 of 228 PageID
                               #: 31401
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


                         FOLLOW UP QUESTION




                                G.2-32
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 143 of 228 PageID
                               #: 31402
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                                G.2-33
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 144 of 228 PageID
                               #: 31403
         HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




      APPENDIX G.3
 LOWER-SPEND ADVERTISER
    SURVEY RAW DATA




                                  G.3-1
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 145 of 228 PageID
                               #: 31404
         HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




         PRODUCED AS NATIVE




                                  G.3-2
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 146 of 228 PageID
                               #: 31405
         HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                  APPENDIX H
                AGENCY SURVEY
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 147 of 228 PageID
                               #: 31406
         HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                 APPENDIX H.1
                AGENCY SURVEY
                   SCRIPT




                                  H.1-1
Case 4:20-cv-00957-SDJ  Document 688-2 Filed 11/25/24 Page 148 of 228 PageID
                                  #: 31407
            HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


                                   Agency Survey
                  Screener and Main Survey Programmer Instructions

   LEGEND:

   [PROGRAMMER NOTES IN BOLD CAPS AND BRACKETS]
   Notes to respondent in italics

   FORMAT: The survey consists of the following sections:

       Introduction & Screening (questions labeled QS)
       Main Survey Questions (questions labeled Q)
       Follow-Up Questions (questions labeled QF)

 Overview
  [NO RESPONDENTS TO BE CONTACTED AT COMPANIES FROM THE LIST OF
  ENTITIES TO BE EXLCUDED]
  [PANEL CONSISTS OF RESPONDENTS WHO ARE 18+, BASED IN THE U.S.,
  WORK FOR AN ADVERTISING AGENCY, AND WHOSE JOB FUNCTION
  RELATES TO MARKETING AND/OR ADVERTISING]
  [TARGET 400 COMPLETES]
  [DISABLE THE BROWSER’S “BACK” BUTTON AND DO NOT SHOW A “BACK”
  BUTTON WITHIN THE SURVEY]
  [FORCE RESPONSES TO ANSWER ALL QUESTIONS UNLESS OTHERWISE
  SPECIFIED]
  [DISPLAY ONE QUESTION PER PAGE UNLESS OTHERWISE SPECIFIED]
  [NO SURVEY OR SECTION TITLES TO BE DISPLAYED TO RESPONDENTS]
  [DIGITAL FINGERPRINTING SHOULD BE USED TO AVOID REPEAT
  PARTICIPATION]
  [TEXT FOR TERMINATES: “THANK YOU FOR YOUR INTEREST IN OUR STUDY.
  YOU DO NOT QUALIFY FOR THIS STUDY. WE APPRECIATE YOUR TIME.”]




                                          H.1-2
Case 4:20-cv-00957-SDJ Document 688-2 Filed 11/25/24 Page 149 of 228 PageID
                                 #: 31408
           HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


 Introduction and Screening

  QS1. Please enter the code exactly as it appears in the box below, and then click “Continue”
       to continue.
  [INSERT CAPTCHA; TERMINATE AFTER THREE INCORRECT ATTEMPTS]

  QS2. Thank you for participating in our study. Your opinions are very important to us. If you
       don’t know an answer to a question or if you don’t have an opinion, please don’t guess.
       Simply indicate this in your response by selecting the “Don’t know / Unsure” option.
       There are no right or wrong answers.

         Your responses will be kept anonymous and will be analyzed as part of a larger sample
         of responses. The results of this study will not be used to try to sell you anything.

         If you wear glasses or corrective lenses when using a desktop computer, laptop
         computer, or tablet, please wear them throughout the survey.

         Please do not use the “Back” button of your browser while taking the survey. When
         you are ready to get started, please select the “Continue” button.

  QS3. What is your age? (Please select only one option.)

  [FLIP ORDER PER RESPONDENT, AS IS AND REVERSE; KEEP “PREFER NOT
  TO ANSWER” LAST]
     Under 18 [TERMINATE]
     18 - 34
     35 - 49
     50 - 64
     65 or above
     Prefer not to answer [TERMINATE]

  QS4. What is your gender? (Please select only one option.)
  [RANDOMIZE; KEEP “OTHER” AND “PREFER NOT TO ANSWER” LAST]
     Male
     Female
     Other: [INSERT TEXT BOX]
     Prefer not to answer

  QS5. In which state do you live? (Please select only one option.)
  [INSERT DROP DOWN MENU OF ALL 50 STATES AND DC, PLUS “OTHER” AND
  “DON’T KNOW / UNSURE”]
  [TERMINATE IF “OTHER” OR “DON’T KNOW / UNSURE” IS SELECTED]




                                             H.1-3
Case 4:20-cv-00957-SDJ Document 688-2 Filed 11/25/24 Page 150 of 228 PageID
                                 #: 31409
           HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


  QS6. Which of the following do you have any involvement in as part of your job
       responsibilities? (Please select all that apply.)

  [RANDOMIZE; KEEP “OTHER” LAST]

      Hiring/HR
      IT/Tech
      Business intelligence/Data science
      Sales or account management
      Accounting/Finance
      Advertising or Marketing
      Website/Mobile App design/development
      Customer relationship management
      Data analysis/statistics
      Other (specify):

 [TERMINATE IF “Advertising or Marketing” IS NOT SELECTED]

  QS7. Which of the following best characterizes the type of company you work for? (Please
       select only one option.)
  [RANDOMIZE; KEEP “OTHER” LAST]
    Advertiser/Marketer – your company sells products or services and advertises/markets
     its products or services [TERMINATE]
    Creative Agency – your company designs or produces marketing content and/or advises
     clients on their creative media/marketing strategies [TERMINATE]
    Media Agency – your company advises clients on their media/marketing strategies and/or
     how to spend their advertising funds
    Full Service Agency – your company handles both Creative and Media strategy and/or
     execution
    Other (please describe): [INSERT TEXT BOX] [TERMINATE]

  QS8. [IF FULL SERVICE AGENCY SELECTED IN QS7] You indicated that you work
       for a Full Service Agency. Does your work primarily involve Creative strategy (i.e.,
       designing or producing marketing content and/or advising clients on creative strategies)
       or Media strategy (i.e., advising clients on media/marketing strategy and/or how to
       spend advertising funds)? (Please select only one option.)

         [RANDOMIZE ORDER; KEEP “NONE OF THE ABOVE” AND “DON’T
         KNOW / UNSURE” LAST]

    Creative Strategy [TERMINATE]
    Media Strategy
    None of the above [TERMINATE]
    Don’t know / Unsure [TERMINATE]



                                            H.1-4
Case 4:20-cv-00957-SDJ Document 688-2 Filed 11/25/24 Page 151 of 228 PageID
                                 #: 31410
           HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


  QS9. Which of the following best characterizes your current job title/level? (Select only one
       option.)
  [RANDOMIZE; KEEP “OTHER” LAST]
        C-Level (CEO, CMO, COO, etc.)
        Account Manager / Account Executive
        Business Development Manager
        Media Planner
        Media Buyer
        Project Manager
        Social Media Manager
        Editor / Writer
        Analyst / Researcher
        Strategist
        Data Scientist / Data Analyst
        Traffic Manager
        Other (please describe): [INSERT TEXT BOX]

  QS10. The following questions will ask you about your advertising decisions and practices.
        For these questions, please think about the client you spend the most time on and
        answer the question from the perspective of that client. If there are multiple clients you
        spend the most time on, please answer the following questions from the perspective of
        the most typical of those clients.

  QS11. Which of the following, if any, best characterizes the market sector/industry of the
        client you spend the most time on? (Please select only one option.)
  [DO NOT RANDOMIZE]
    Advertising or Marketing
    Apparel/Fashion
    Automotive
    B2B/Services for Businesses
    Consumer Electronics
    Education
    Financial Products/Services for Consumers (including Fintech)
    Food and Beverage
    Government
    Health and Beauty Products
    Home Products/Appliances
    Health Care or Medical Services
    Media and Entertainment
    Non-Profit
    Pharmaceuticals and Remedies (Rx or OTC)
    Restaurants
    Retail (including Ecommerce)
    Telecommunications
    Travel and Hospitality


                                              H.1-5
Case 4:20-cv-00957-SDJ Document 688-2 Filed 11/25/24 Page 152 of 228 PageID
                                 #: 31411
           HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


    Other (Please describe): [INSERT TEXT BOX]

  QS12. In the last 12 months, approximately how much did the client you spend the most time
        on spend on all advertising, including all digital types (e.g., display, video, audio,
        social) plus all nondigital types (e.g., TV types, print, OOH, etc.)? (Please select only
        one option.)
  [FLIP ORDER PER RESPONDENT, AS IS AND REVERSE; KEEP “DON’T KNOW /
  UNSURE” LAST]
    Less than $10,000
    $10,000 to less than $50,000
    $50,000 to less than $100,000
    $100,000 to less than $250,000
    $250,000 to less than $500,000
    $500,000 to less than $1 million
    $1 million to less than $3 million
    $3 million to less than $7 million
    $7 million to less than $15 million
    $15 million to less than $30 million
    $30 million to less than $50 million
    $50 million to less than $100 million
    $100 million to less than $250 million
    $250 million to less than $500 million
    $500 million or more
    Don’t know / Unsure

  QS13. Please think about the total advertising budget for the client you spend the most time
        on. In the past year, what percentage of the total advertising budget for the client you
        spend the most time on was used for digital (online) advertising, as opposed to offline
        advertising? Please give your best estimate. (Please enter a number from 0 to 100 for
        each type of advertising or select “Don’t know / Unsure.” Values must add up to
        100%.)

     [FOR ERRORS, DISPLAY THE FOLLOWING ERROR MESSAGE: “Please enter a
     whole number between 0 and 100 for each advertising type, or select “Don’t know /
     Unsure.” Values must add up to 100”][SHOW TOTAL AT BOTTOM]

     Percentage of budget spent on digital (online) advertising last year:
     Percentage of budget spent on offline advertising last year:
       Don’t know / Unsure

   [TERMINATE IF DIGITAL (ONLINE) = 0]




                                              H.1-6
Case 4:20-cv-00957-SDJ Document 688-2 Filed 11/25/24 Page 153 of 228 PageID
                                 #: 31412
           HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


  QS14. Which of the following types of digital advertising, if any, have you used in the past
        year for the client you spend the most time on? Please review the description of each
        advertising type carefully. (Please select all that apply.)

       [RANDOMIZE ORDER; KEEP “OTHER” AND “DON’T KNOW / UNSURE”
       LAST]

        Advertising Type                Description
       Search                          Digital ads placed on search engine result pages. Ads
                                        generally consist of a headline, description, and a link
                                        to the destination URL.
       Display                         Digital ads made up of text, image, video, and/or other
                                        multimedia components that typically appear along the
                                        top or sides of a website, or sometimes in the middle of
                                        other content on a website. Examples of display ad
                                        formats include banner ads, animations, and interactive
                                        content. Display ads do not include ads placed on
                                        social media platforms.
       Email                           Digital ads sent via email to current and potential
                                        customers.
       Digital Audio                   Recorded advertisements that play between or during
                                        songs, podcasts, or other digital audio content.
       Social                          Digital ads placed on social media platforms such as
                                        Facebook, Instagram, LinkedIn, Snapchat, and Twitter.
       App/In-App                      Digital ads placed and displayed within mobile apps.
                                        Does not include ads placed on social media platforms.
       Digital Video                   Includes video ads that appear before, during, or after
                                        digital content in a video player, such as YouTube.
       Connected TV                    Includes digital advertising that appears on home
                                        screens of CTV devices and in-stream video ads that
                                        appear on CTVs from platforms like Hulu, Roku and
                                        YouTube. CTVs are TV sets connected to the internet
                                        through built-in internet capability or through another
                                        device such as a Blu-ray player, game console, set-top
                                        box (e.g., Apple TV, Google Chromecast, Roku), etc.
       eCommerce Platforms             Digital ads that appear on eCommerce platforms, such
                                        as Amazon.com or Instacart.
       Other (specify and explain):
        [INSERT TEXT BOX]
        Don’t know / Unsure [EXCLUSIVE]

   [TERMINATE IF “DISPLAY” IS NOT SELECTED]

  QS15. You indicated that you have used display advertising in the past year for the client you
        spend the most time on. Display ad inventory can be purchased through programmatic



                                             H.1-7
Case 4:20-cv-00957-SDJ Document 688-2 Filed 11/25/24 Page 154 of 228 PageID
                                 #: 31413
           HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


         transaction methods or through direct deals with publishers. Please review the below
         descriptions about these transaction methods.

         Programmatic: Ads that are purchased programmatically are transacted and fulfilled
         using automation. In programmatic transactions, the price of each impression is
         typically determined in an auction conducted automatically before the impression is
         served.

         Direct Deals: Ads that are purchased through a direct negotiation, or “direct deal,” with
         the publisher. In direct deals, the price of the ad inventory is typically set through a one-
         to-one negotiation between the advertiser and the publisher rather than through an
         auction. “Direct deals” include programmatic direct deals, such as programmatic
         guaranteed deals and preferred deals.

         Which of the following transaction methods have you used to purchase display ad
         inventory in the past year for the client you spend the most time on? (Please select all
         that apply.)

         [RANDOMIZE ORDER; KEEP “NONE OF THE ABOVE” AND “DON’T
         KNOW / UNSURE” LAST]

           Programmatic
           Direct Deals
           None of the above [EXCLUSIVE]
           Don’t know / Unsure [EXCLUSIVE]

  [TERMINATE IF “PROGRAMMATIC” IS NOT SELECTED]

  QS16. [IF “SOCIAL” IS SELECTED IN QS14] You indicated that you have used social
        advertising in the past year for the client you spend the most time on. Which of the
        following social media platforms, if any, have you used in the past year for the client
        you spend the most time on? (Please select all that apply.)
       [RANDOMIZE ORDER; KEEP “OTHER,” “NONE OF THE ABOVE”, AND
       “DON’T KNOW / UNSURE” LAST]
          Facebook
          Instagram
          Pinterest
          Snapchat
          TikTok
          Twitter
          LinkedIn
          Reddit
          Tumblr
          FriendLinx
          Other social media platforms (specify): [INSERT TEXT BOX]
          None of the above [EXCLUSIVE]


                                               H.1-8
Case 4:20-cv-00957-SDJ  Document 688-2 Filed 11/25/24 Page 155 of 228 PageID
                                  #: 31414
            HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


           Don’t know / Unsure [EXCLUSIVE]

  QS17. In the last 12 months, in which of the following ways have you personally been
        involved in digital display advertising efforts on behalf of the client you spend the
        most time on? (Select all that apply.)
  [RANDOMIZE; KEEP “NONE OF THE ABOVE” AND “DON’T KNOW / UNSURE”
  LAST]
           I determine or advise the client regarding overall strategies and/or budgets for
            digital display.
           I determine or advise the client regarding which buying tools and/or demand-side
            platforms (DSPs) to use for digital display.
           I regularly use self-serve ad platforms to manage digital display campaigns for the
            client.
           I oversee a team/individuals that use(s) self-serve ad platforms to manage digital
            display campaigns for the client.
           I regularly set up audience/target parameters for programmatic digital display
            buying for the client.
           I oversee a team/individuals that set(s) up audience/target parameters for
            programmatic digital display buying for the client.
           I measure results of digital display campaigns for the client.
           I oversee a team/individuals that measure(s) results of digital display campaigns for
            the client.
           None of the above [EXCLUSIVE] [TERMINATE]
           Don’t know / Unsure [EXCLUSIVE] [TERMINATE]

 [TERMINATE IF NONE OF “I determine or advise the client regarding overall strategies
 and/or budgets for digital display”, “I determine or advise the client regarding which buying
 tools and/or demand-side platforms (DSPs) to use for digital display”, “I regularly use self-serve
 ad platforms to manage digital display campaigns for the client”, and “I oversee a
 team/individuals that use(s) self-serve ad platforms to manage digital display campaigns for the
 client” ARE SELECTED]

  QS18. This question is testing whether or not you’re paying attention while taking this survey.
        Please select “Somewhat likely” below. (Please select only one option.)
  [FLIP ORDER PER RESPONDENT, AS IS AND REVERSE; KEEP “DON’T KNOW /
  UNSURE” LAST]
       Not at all likely [TERMINATE]
       Not likely [TERMINATE]
       Neither unlikely nor likely [TERMINATE]
       Somewhat likely
       Very likely [TERMINATE]
       Don’t know / Unsure [TERMINATE]




                                               H.1-9
Case 4:20-cv-00957-SDJ  Document 688-2 Filed 11/25/24 Page 156 of 228 PageID
                                  #: 31415
            HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


 Main Questionnaire
 Q1. You have been selected to answer additional questions about your advertising practices for
     the client you spend the most time on. Please continue to think about the client you spend
     the most time on and answer the question from the perspective of that client. If there are
     multiple clients you spend the most time on, please answer the following questions from
     the perspective of the most typical of those clients.

      For each question, if you don’t know or are unsure, please don’t guess. Simply indicate this
      in your response by selecting the “Don’t know / Unsure” option. There are no right or
      wrong answers.

      Also, you should complete this survey without stopping in the middle. Please make sure
      not to consult anyone; use your browser’s “Back” button; or open another browser while
      working on this survey.

 Relative Roles of Agency vs. the Client

 Q2. Which of the following best describes your involvement in each of these activities for the
     client you spend the most time on? (Please select a value on the slider between 0 and 100
     for each activity. If you do not have an answer, please select “Don’t know / Unsure”.)

      [SHOW SLIDER FOR EACH ROW FROM 0 TO 100, LABEL “I AM NOT
      INVOLVED IN THESE DECISIONS” 0 AND “I AM THE PRIMARY DECISION-
      MAKER” 100. INCLUDE OPTION FOR “DON’T KNOW / UNSURE”]

      [RANDOMIZE ORDER OF ROWS]

    Determining initial advertising budget
    Allocating budget across different advertising types
    Increasing/decreasing spending on a particular type of advertising
    Increasing/decreasing spending on a particular ad campaign
    Making changes to a campaign based on its performance
    Deciding where to advertise
    Deciding whether to purchase display ads programmatically or through direct deals with
        publishers
    Measuring performance of display ad campaigns




                                             H.1-10
Case 4:20-cv-00957-SDJ Document 688-2 Filed 11/25/24 Page 157 of 228 PageID
                                 #: 31416
           HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


 Budget Allocation and Substitution

 Q3. The following questions pertain to digital advertising.

      Previously, you mentioned that the client you spend the most time on has used the
      following types of digital advertising in the past year. What is your best estimate of the
      share of the digital advertising budget of the client you spend the most time on that was
      used for each of these types of advertising in the past year? Specifically, please allocate
      100% across the different types of digital advertising shown below based on the share of
      your client’s total digital advertising budget spent on each type. The total should add up to
      100%.

      To review the advertising type descriptions, hover your mouse over each digital advertising
      type.

      (Please enter a number from 0 to 100 in each cell, or select “Don’t know / Unsure.” Please
      make sure that numbers add up to 100.)

      [SHOW ALL ANSWER OPTIONS SELECTED IN QS14 AND QS15 WITH TEXT
      BOX REQUIRING WHOLE NUMBER BETWEEN 0 AND 100. RANDOMIZE
      ORDER; KEEP “OTHER” AND “DON’T KNOW / UNSURE” LAST. SHOW
      RUNNING TOTAL AT THE BOTTOM OF THE PAGE WITH THE SUM OF THE
      NUMBERS ENTERED]

      [DISPLAY DESCRIPTIONS FROM QS14 AND QS15 WHEN RESPONDENT
      HOVERS OVER TYPE OF ADVERTISING]

      [THE SUM OF ALL NUMBERS MUST EQUAL 100. IF RESPONDENT CLICKS
      “NEXT” AND THE SUM OF THE NUMBERS IS NOT EQUAL TO 100, SHOW
      THE FOLLOWING ERROR MESSAGE: “Sorry, your answers do not add up to 100.
      Please try again.”]

      [FOR ALL OTHER ERRORS, DISPLAY THE FOLLOWING ERROR MESSAGE:
      “Please specify a whole number in each cell, and do not leave any cell blank. Please enter 0
      if you do not spend any portion of your advertising budget on a type of advertising.”]

       Search:
       Programmatic Display:
       Direct Deals Display:
       Email:
       Digital Audio:
       Social:
       App/In-app:
       Digital Video:


                                              H.1-11
Case 4:20-cv-00957-SDJ  Document 688-2 Filed 11/25/24 Page 158 of 228 PageID
                                  #: 31417
            HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


       Connected TV:
       eCommerce Platforms:
       Other
                                                [SHOW SUM OF NUMBERS
       TOTAL
                                                ABOVE]
     Don’t know / Unsure [EXCLUSIVE]

 Q4. Please read carefully. Now suppose that, based on your analysis, the cost of programmatic
     display advertising has recently increased by a small but significant amount, and will
     remain elevated for the foreseeable future. Assume further that, based on similar
     analyses for other digital advertising types, the costs of other digital advertising types
     have not changed and are not expected to change.

      So, for the client you spend the most time on, if the cost of programmatic display
      advertising increases (while the cost of other advertising types remains the same), will you
      or won’t you divert some of your advertising spending for the coming year to other types of
      digital advertising?

      [FLIP ORDER PER RESPONDENT, AS IS AND REVERSE; KEEP “DON’T
      KNOW / UNSURE” LAST]

         Yes, I will divert some of my advertising spending for the coming year to other types
          of digital advertising.
         No, I will not divert any of my advertising spending for the coming year to other
          types of digital advertising. [SKIP TO Q7]
         Don’t know / Unsure [SKIP TO Q7]

 Q5. To which other types of digital advertising below, if any, would you divert your advertising
     spending for the coming year for the client you spend the most time on, as a result of the
     increase in the cost of programmatic display advertising?

      To review the advertising type descriptions, hover your mouse over each digital advertising
      type.

      (Please select all that apply.)

      [DISPLAY DESCRIPTIONS FROM QS14 AND QS15 WHEN RESPONDENT
      HOVERS OVER TYPE OF ADVERTISING. RANDOMIZE ORDER; KEEP
      “OTHER,” “NONE OF THE ABOVE,” AND “DON’T KNOW / UNSURE” LAST]

           Search
           Direct Deals Display
           Email
           Digital Audio
           Social
           App/In-App


                                             H.1-12
Case 4:20-cv-00957-SDJ  Document 688-2 Filed 11/25/24 Page 159 of 228 PageID
                                  #: 31418
            HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


           Digital Video
           Connected TV
           eCommerce Platforms
           Other
           None of the above [EXCLUSIVE] [SKIP TO Q7]
           Don’t know / Unsure [EXCLUSIVE] [SKIP TO Q7]

 Q6. In your previous answer, you indicated that the increase in the cost of programmatic
     display advertising will lead you to divert some of your advertising spending to the types of
     digital advertising listed below.

      Please use the sliders below to indicate, on a scale of 0 to 10, the extent to which you
      would divert (that is, increase) advertising spending for the coming year for the client you
      spend the most time on to each type of digital advertising that you just indicated.

      For each digital advertising type below, please select 0 if you expect to keep spending on
      that type of digital advertising for the coming year and 10 if you expect to substantially
      increase spending on that type of digital advertising.

      To review the advertising type descriptions, hover your mouse over each digital advertising
      type.

      [SHOW ANSWER OPTIONS SELECTED IN Q5. MATCH ORDER OF
      RESPONSES TO Q5. FOR EACH ADVERTISING TYPE, SHOW SLIDER FROM 0
      TO 10, LABEL 0 “KEEP THE SAME” AND 10 “SUBSTANTIALLY INCREASE.”
      INCLUDE OPTION FOR “DON’T KNOW / UNSURE”.]

      [DISPLAY DESCRIPTIONS FROM QS14 AND QS15 WHEN RESPONDENT
      HOVERS OVER TYPE OF ADVERTISING]


       Search                   [INSERT SLIDER]              Don’t know / Unsure
       Direct Deals Display     [INSERT SLIDER]              Don’t know / Unsure
       Email                    [INSERT SLIDER]              Don’t know / Unsure
       Digital Audio            [INSERT SLIDER]              Don’t know / Unsure
       Social                   [INSERT SLIDER]              Don’t know / Unsure
       App/In-app               [INSERT SLIDER]              Don’t know / Unsure
       Digital Video            [INSERT SLIDER]              Don’t know / Unsure
       Connected TV             [INSERT SLIDER]              Don’t know / Unsure
       eCommerce Platforms      [INSERT SLIDER]              Don’t know / Unsure
       Other                    [INSERT SLIDER]              Don’t know / Unsure




                                              H.1-13
Case 4:20-cv-00957-SDJ Document 688-2 Filed 11/25/24 Page 160 of 228 PageID
                                 #: 31419
           HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


 Use of Ad Buying Tools for Programmatic Display (Multihoming)

 Q7. An ad buying tool is a programmatic advertising platform that allows advertisers and media
     buying agencies to bid automatically on display ad inventory from a wide range of
     publishers. Some ad buying tools can also be used to buy video and search ad inventory.
     Ad buying tools include demand side platforms, or “DSPs.”

      Which of the following ad buying tools, if any, have you used in the past year for
      programmatic display advertising for the client you spend the most time on? (Please
      select all that apply.)

      [RANDOMIZE ORDER; KEEP “OTHER” AND “DON’T KNOW / UNSURE”
      LAST]
          Google Ads
          Google Display and Video 360 (DV360)
          illumin (formerly AcuityAds)
          Adelphic
          Adform
          Adobe Advertising Cloud
          Amazon DSP
          Amobee
          Basis by Centro
          Beeswax
          Criteo
          MediaMath DSP
          Outbrain
          Quantcast
          Simpli.fi
          StackAdapt
          Taboola
          The Trade Desk DSP
          Yahoo DSP (formerly Verizon Media DSP)
          Xandr Invest
          Zeta Global
          Quorexx
          Ad Step Technologies
          Other (please specify): [TEXT BOX]
          Don’t know / Unsure [EXCLUSIVE] [SKIP TO Q16]

      [ADD FOLLOWING TEXT AS HOVER OVER FOR ALL INSTANCES OF “AD
      BUYING TOOL” IN FOLLOWING QUESTIONS: An ad buying tool is a
      programmatic advertising platform that allows advertisers and media buying agencies to
      bid automatically on display ad inventory from a wide range of publishers. Some ad buying
      tools can also be used to buy video and search ad inventory. Ad buying tools include
      demand side platforms, or “DSPs.”]




                                            H.1-14
Case 4:20-cv-00957-SDJ  Document 688-2 Filed 11/25/24 Page 161 of 228 PageID
                                  #: 31420
            HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


 Q8. [IF MORE THAN ONE AD BUYING TOOL IS SELECTED IN Q7] Why did you use
     more than one ad buying tool for programmatic display advertising in the past year for
     the client you spend the most time on? (Please type in your response, or select “Don’t
     know / Unsure”.)

      [INSERT TEXT BOX]
      [REQUIRE AT LEAST 4 CHARACTERS; IF ENTRY IS LESS THAN 4
      CHARACTERS, SHOW ERROR “Please be thorough in your response.”]

           Don’t know / Unsure [EXCLUSIVE]

 Q9. Do you expect to use the same number, more, or fewer ad buying tools for programmatic
     display advertising next year for the client you spend the most time on? (Please select
     only one option.)

      [RANDOMIZE ORDER; KEEP “DON’T KNOW / UNSURE” LAST]
          I expect to use more ad buying tools for programmatic display advertising next year
           for the client I spend the most time on.
          I expect to use fewer ad buying tools for programmatic display advertising next
           year for the client I spend the most time on.
          I expect to use the same number of ad buying tools for programmatic display
           advertising next year for the client I spend the most time on.
          Don’t know / Unsure

 Q10. [IF MORE OR FEWER SELECTED IN Q9] You indicated that, compared to the past
      year, you expect to use [PIPE IN BASED ON ANSWER IN Q9: “more” or “fewer”] ad
      buying tools for programmatic display advertising next year for the client you spend the
      most time on. Why do you expect to use [PIPE IN BASED ON ANSWER IN Q9:
      “more” or “fewer”] ad buying tools for programmatic display advertising next year for the
      client you spend the most time on? (Please type in your response or select “Don’t know /
      Unsure”.)

      [INSERT TEXT BOX]
      [REQUIRE AT LEAST 4 CHARACTERS; IF ENTRY IS LESS THAN 4
      CHARACTERS, SHOW ERROR “Please be thorough in your response.”]

           Don’t know / Unsure [EXCLUSIVE]

 Q11. Which of the following factors, if any, do you consider when deciding to use a particular ad
      buying tool for programmatic display advertising for the client you spend the most time
      on? (Please select all that apply.)

      [RANDOMIZE ORDER; KEEP “OTHER” AND “DON’T KNOW / UNSURE”
      LAST]
          Ad placement effectiveness
          Audience scale / Reach



                                              H.1-15
Case 4:20-cv-00957-SDJ  Document 688-2 Filed 11/25/24 Page 162 of 228 PageID
                                  #: 31421
            HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


           Ease of use / User interface
           Targeting criteria and capabilities
           Reporting features
           Forecasting tools
           Budget management tools
           API and integrations
           Troubleshooting capabilities
           Media optimization of placements during a campaign
           Brand safety / fraud protection
           Identity management
           Support
           Cost
           Other (please specify): [TEXT BOX]
           Don’t know / Unsure [EXCLUSIVE]

 Q12. Have you stopped using any ad buying tool(s) for programmatic display advertising in
      the past year for the client you spend the most time on? (Please select only one option.)

      [RANDOMIZE ORDER AS IS AND REVERSE; KEEP “DON’T KNOW /
      UNSURE” LAST]

           Yes, I stopped using at least one ad buying tool in the past year for the client I
            spend the most time on.
           No, I have not stopped using any ad buying tools in the past year for the client I
            spend the most time on.
           Don’t know / Unsure

 Q13. [IF YES IN Q12] You indicated that you stopped using at least one ad buying tool in the
      past year for programmatic display advertising for the client you spend the most time
      on. What factors led you to stop using one or more ad buying tools for programmatic
      display advertising for the client you spend the most time on? (Please type your response
      in the text box below, or select “Don’t know / Unsure”.)

      [INSERT TEXT BOX]
      [REQUIRE AT LEAST 4 CHARACTERS; IF ENTRY IS LESS THAN 4
      CHARACTERS, SHOW ERROR “Please be thorough in your response.”]

           Don’t know / Unsure [EXCLUSIVE]

 Q14. Have you started using any ad buying tool(s) in the past year for programmatic display
      advertising for the client you spend the most time on? (Please select only one option.)

      [RANDOMIZE ORDER AS IS AND REVERSE; KEEP “DON’T KNOW /
      UNSURE” LAST]




                                             H.1-16
Case 4:20-cv-00957-SDJ Document 688-2 Filed 11/25/24 Page 163 of 228 PageID
                                 #: 31422
           HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


           Yes, I started using at least one ad buying tool in the past year for the client I spend
            the most time on.
           No, I have not started using any ad buying tools in the past year for the client I
            spend the most time on.
           Don’t know / Unsure

 Q15. [IF YES IN Q14] You indicated that you started using at least one ad buying tool in the
      past year for programmatic display advertising for the client you spend the most time
      on. What factors led you to start using one or more ad buying tools for programmatic
      display advertising for the client you spend the most time on? (Please type your response
      in the text box below, or select “Don’t know / Unsure”.)

      [INSERT TEXT BOX]
      [REQUIRE AT LEAST 4 CHARACTERS; IF ENTRY IS LESS THAN 4
      CHARACTERS, SHOW ERROR “Please be thorough in your response.”]

           Don’t know / Unsure [EXCLUSIVE]


 Measuring Performance

 Q16. [ONLY INCLUDE ADVERTISING TYPES SELECTED IN QS13 AND QS15] Which
      of the following metrics, if any, do you use to assess the performance of programmatic
      display ads, direct deals display ads, social media ads, and/or digital video ads for the
      client you spend the most time on?

      To review the advertising type descriptions, hover your mouse over each digital advertising
      type.
      (Please select all that apply in each column.)

      [DISPLAY DESCRIPTIONS FROM QS14 AND QS15 WHEN RESPONDENT
      HOVERS OVER TYPE OF ADVERTISING]

      [RANDOMIZE ORDER OF ROWS, KEEP “OTHER,” “NONE OF THE ABOVE,”
      AND “DON’T KNOW / UNSURE” LAST. RANDOMIZE ORDER OF COLUMNS]

                   Metric                Programmatic       Direct deals    Social       Digital
                                          display ads       display ads    media ads    video ads
       Impressions                                                                       
       Clicks                                                                            
       Conversions                                                                       
       Cost per impression (CPM)                                                         
       Cost per click (CPC)                                                              
       Cost per action (CPA)                                                             
       Return on Ad Spend (ROAS)                                                         
       Return on Investment (ROI)                                                        


                                              H.1-17
Case 4:20-cv-00957-SDJ  Document 688-2 Filed 11/25/24 Page 164 of 228 PageID
                                  #: 31423
            HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


       Click through rate (CTR)                                                        
       Other (please specify):                                                         
       [TEXT BOX]
       None of the above                                                               
       [EXCLUSIVE]
       Don’t know / Unsure                                                             
       [EXCLUSIVE]


 Q17. [ONLY IF MORE THAN ONE METRIC FOR PROGRAMMATIC DISPLAY ADS
      ARE SELECTED IN Q16] You indicated that you use the following metrics to assess the
      performance of programmatic display ads for the client you spend the most time on.
      Please rank these metrics in terms of how important they are to accurately assessing the
      performance of programmatic display ads, with 1 being the most important and
      [NUMBER OF MEASURES SELECTED IN Q16] being the least important. (Please
      rank the following metrics, or select “Don’t know / Unsure”.)

      [HAVE RESPONDENTS ASSIGN A RANK FROM 1 TO THE NUMBER OF
      RESPONSES SELECTED IN Q16 FOR EACH PERFORMANCE METRIC]
          Don’t know / Unsure [EXCLUSIVE]

 Q18. How often, if at all, do you measure or assess the performance of the programmatic
      display advertising for the client you spend the most time on? (Please select only one
      option.)

      [RANDOMIZE ORDER AS IS AND REVERSE; KEEP “DON’T KNOW /
      UNSURE” LAST]

           Daily
           Weekly
           Monthly
           Quarterly
           Annually
           Don’t know / Unsure

 Q19. In the past year, have you run any experiments or test & learn initiatives to assess the
      performance of the programmatic display ads for the client you spend the most time on?
      (Please select only one option.)
      [RANDOMIZE ORDER AS IS AND REVERSE; KEEP “DON’T KNOW /
      UNSURE” LAST]

           Yes
           No
           Don’t know / Unsure




                                             H.1-18
Case 4:20-cv-00957-SDJ  Document 688-2 Filed 11/25/24 Page 165 of 228 PageID
                                  #: 31424
            HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


 Q20. [IF YES IN Q19] Which of the following types of experiments or test & learn initiatives, if
      any, have you run in the past year to assess the performance of the programmatic display
      ads for the client you spend the most time on?

      I have run experiments and/or test & learn initiatives testing… (Please select all that
      apply.)

      [RANDOMIZE ORDER; KEEP “OTHER” AND “DON’T KNOW / UNSURE”
      LAST]

           Creatives
           Bid strategies
           Audiences
           Publishers
           Ad buying tool performance
           ROI/ROAS
           Other (please specify): [TEXT BOX]
           Don’t know / Unsure [EXCLUSIVE]


 Follow Up Question

 QF1. This survey is being conducted by consultants that have been retained on behalf of Google
      in connection with pending antitrust lawsuits in which the plaintiffs allege that Google
      engaged in anticompetitive conduct related to digital advertising.

       If you are willing to participate in this survey, please click “Include my responses” below.
       As a reminder, your responses will be kept anonymous and will be analyzed as part of a
       larger sample of responses.

       If you do not want to participate in this survey, please click “Exclude my responses”
       below.

       [RANDOMIZE ORDER]

            Include my responses
            Exclude my responses




                                              H.1-19
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 166 of 228 PageID
                               #: 31425
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




               APPENDIX H.2
              AGENCY SURVEY
               SCREENSHOTS




                                 H.2-1
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 167 of 228 PageID
                               #: 31426
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


                     INTRODUCTION AND SCREENING




                                 H.2-2
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 168 of 228 PageID
                               #: 31427
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                                 H.2-3
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 169 of 228 PageID
                               #: 31428
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                                 H.2-4
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 170 of 228 PageID
                               #: 31429
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                                 H.2-5
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 171 of 228 PageID
                               #: 31430
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                                 H.2-6
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 172 of 228 PageID
                               #: 31431
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                                 H.2-7
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 173 of 228 PageID
                               #: 31432
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                                 H.2-8
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 174 of 228 PageID
                               #: 31433
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                                 H.2-9
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 175 of 228 PageID
                               #: 31434
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                                H.2-10
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 176 of 228 PageID
                               #: 31435
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                                H.2-11
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 177 of 228 PageID
                               #: 31436
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                                H.2-12
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 178 of 228 PageID
                               #: 31437
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                                H.2-13
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 179 of 228 PageID
                               #: 31438
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                                H.2-14
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 180 of 228 PageID
                               #: 31439
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                                H.2-15
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 181 of 228 PageID
                               #: 31440
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                                H.2-16
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 182 of 228 PageID
                               #: 31441
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                                H.2-17
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 183 of 228 PageID
                               #: 31442
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                                H.2-18
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 184 of 228 PageID
                               #: 31443
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                                H.2-19
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 185 of 228 PageID
                               #: 31444
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


                         MAIN QUESTIONNAIRE




                                H.2-20
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 186 of 228 PageID
                               #: 31445
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                                H.2-21
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 187 of 228 PageID
                               #: 31446
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                                H.2-22
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 188 of 228 PageID
                               #: 31447
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                                H.2-23
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 189 of 228 PageID
                               #: 31448
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                                H.2-24
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 190 of 228 PageID
                               #: 31449
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                                H.2-25
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 191 of 228 PageID
                               #: 31450
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                                H.2-26
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 192 of 228 PageID
                               #: 31451
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                                H.2-27
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 193 of 228 PageID
                               #: 31452
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                                H.2-28
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 194 of 228 PageID
                               #: 31453
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                                H.2-29
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 195 of 228 PageID
                               #: 31454
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                                H.2-30
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 196 of 228 PageID
                               #: 31455
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                                H.2-31
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 197 of 228 PageID
                               #: 31456
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                                H.2-32
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 198 of 228 PageID
                               #: 31457
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                                H.2-33
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 199 of 228 PageID
                               #: 31458
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                                H.2-34
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 200 of 228 PageID
                               #: 31459
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                                H.2-35
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 201 of 228 PageID
                               #: 31460
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                                H.2-36
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 202 of 228 PageID
                               #: 31461
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                                H.2-37
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 203 of 228 PageID
                               #: 31462
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                                H.2-38
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 204 of 228 PageID
                               #: 31463
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                                H.2-39
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 205 of 228 PageID
                               #: 31464
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                                H.2-40
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 206 of 228 PageID
                               #: 31465
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


                         FOLLOW UP QUESTION




                                H.2-41
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 207 of 228 PageID
                               #: 31466
        HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                                H.2-42
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 208 of 228 PageID
                               #: 31467
         HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                 APPENDIX H.3
                AGENCY SURVEY
                  RAW DATA




                                  H.3-1
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 209 of 228 PageID
                               #: 31468
         HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




         PRODUCED AS NATIVE




                                  H.3-2
Case 4:20-cv-00957-SDJ
                     Document 688-2 Filed 11/25/24 Page 210 of 228 PageID
                               #: 31469
          HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER




                  APPENDIX I
               NO CONTACT LIST
        Case 4:20-cv-00957-SDJ                 Document 688-2         Filed 11/25/24         Page 211 of 228 PageID
                              HIGHLY CONFIDENTIAL –#:SUBJECT
                                                       31470 TO PROTECTIVE ORDER

                                                         APPENDIX I

                                                   NO CONTACT LIST
                                                  AS OF AUGUST 15, 2023


                                      Entity                                                         Type of Entity
33 Across                                                                        Ad Tech Provider
Accenture Federal Services                                                       Ad Agency
AccuWeather                                                                      Publisher
AdButler & Sparklit Networks, Inc.                                               Ad Tech Provider
AdClickMedia                                                                     Ad Tech Provider
Adform                                                                           Ad Tech Provider
AdGlare                                                                          Ad Tech Provider
Adning                                                                           Ad Tech Provider
Adobe Inc.                                                                       Ad Tech Provider
AdRecover                                                                        Ad Tech Provider
Adsmovil                                                                         Ad Agency
Adsterra                                                                         Ad Tech Provider
Advance Publications, Inc.                                                       Publisher
Advertising Council, Inc., The (AdCouncil)                                       Ad Agency
Aim Media Indiana Operating, LLC                                                 Publisher
AIM Media Midwest Operating, LLC                                                 Publisher
AIM Media Texas Operating, LLC                                                   Publisher
Alaska Department of Labor                                                       State Agency
Alaska Department Of Revenue                                                     State Agency
Alaska Office Of Veterans Affairs                                                State Agency
Alaska, State of                                                                 State / Territory
Alden Global Capital                                                             Publisher
Alhurra, Inc.                                                                    Advertiser
Ally Financial                                                                   Advertiser
Altice                                                                           Publisher
Amazon (including Twitch (ad server))                                            Ad Tech Provider
American Express                                                                 Advertiser
Amtrak (The National Railroad Passenger Corporation)                             Federal Agency
ANGI                                                                             Advertiser
Anheuser Busch Inbev                                                             Advertiser
Apco                                                                             Ad Agency
Apollo (including Verizon Media/Yahoo, Oath, Adapt.tv, Brightroll, Nexage, and   Ad Tech Provider
Michaels (Publisher))
Appen Media Group, Inc.                                                          Publisher


                                                            Page 1 of 18
        Case 4:20-cv-00957-SDJ               Document 688-2       Filed 11/25/24    Page 212 of 228 PageID
                             HIGHLY CONFIDENTIAL –#:SUBJECT
                                                      31471 TO PROTECTIVE ORDER

                                                       APPENDIX I

                                                 NO CONTACT LIST
                                                AS OF AUGUST 15, 2023


                                    Entity                                                  Type of Entity
Apple (including AppleNews (publisher))                                    Ad Tech Provider
AppLovin Corporation / MoPub                                               Ad Tech Provider
Aptive Resources, LLC                                                      Ad Agency
Arizona Game & Fish Department                                             State Agency
Arizona State University                                                   State Agency
Arizona, State of                                                          State / Territory
Arkansas Department of Parks, Heritage and Tourism                         State Agency
Arkansas Division Of Higher Education                                      State Agency
Arkansas, State of                                                         State / Territory
Arrieta, Nicholas                                                          Advertiser
Associated Newspapers Ltd.                                                 Publisher
Associated Press, The                                                      Publisher
Astarita, Mark J.                                                          Advertiser
AT&T and subsidiaries (Xandr [f/k/a AppNexus], Warner Bros.)               Ad Tech Provider
Autodesk                                                                   Advertiser
Bed, Bath, & Beyond                                                        Publisher
Berkshire Hathaway                                                         Advertiser
Best Buy Co., Inc.                                                         Advertiser
Bidvertiser                                                                Ad Tech Provider
Big Lens                                                                   Ad Agency
Bigler, Jason                                                              Ad Tech Provider
Billow Marketing                                                           Ad Agency
Blaine Warren                                                              Ad Agency
Blast Analytics & Marketing                                                GMP-certified partner
Bloomberg L.P.                                                             Publisher
Boeing                                                                     Advertiser
Boland, Brian                                                              Ad Tech Provider
Borgman, Christine L.                                                      Other
Bounteous                                                                  GMP-certified partner
Brightcom                                                                  Ad Tech Provider
Broadstreet                                                                Ad Tech Provider
Brown County Publishing Company Inc                                        Publisher
Browne, Simone                                                             Other
Brunet Garcia Advertising Inc.                                             Ad Agency


                                                         Page 2 of 18
        Case 4:20-cv-00957-SDJ               Document 688-2        Filed 11/25/24        Page 213 of 228 PageID
                             HIGHLY CONFIDENTIAL –#:SUBJECT
                                                      31472 TO PROTECTIVE ORDER

                                                       APPENDIX I

                                                 NO CONTACT LIST
                                                AS OF AUGUST 15, 2023


                                    Entity                                                       Type of Entity
Bully Pulpit Interactive                                                       Ad Agency
BuySellAds                                                                     Ad Tech Provider
Buzzfeed, Inc.                                                                 Publisher
CACI International                                                             Ad Agency
California Department Of Food & Agriculture                                    State Agency
California, State of                                                           State / Territory
Californians Aware                                                             Other
Campbell Ewald                                                                 Ad Agency
Capital Region Independent Media LLC                                           Publisher
Capitol One, Inc.                                                              Advertiser
Cardinal Path                                                                  Reseller
Carmax (including Edmunds)                                                     Publisher
CBC Creative                                                                   Ad Agency
Ceasar's Entertainment                                                         Advertiser
Center for Investigative Reporting, The (d/b/a Reveal)                         Publisher
Centers for Medicare and Medicaid Services                                     Federal Agency
Central Michigan University                                                    State Agency
Charles Tombras Advertising, Inc.                                              Ad Agency
Charleston Publishing Co., Inc.                                                Publisher
Choozle                                                                        Ad Tech Provider
Clarion Publishing Company, Inc.                                               Publisher
Clarke Publishing, Inc.                                                        Publisher
Clarksburg Publishing Company (doing business as WV News)                      Publisher
Clickso                                                                        Advertiser
Cliffy Care Landscaping LLC                                                    Advertiser
Coastal Point LLC                                                              Publisher
Coca-Cola                                                                      Advertiser
College Of Southern Nevada                                                     State Agency
College of Western Idaho                                                       State Agency
Colorado Office Of Early Childhood                                             State Agency
Colorado State University                                                      State Agency
Colorado, State of                                                             State / Territory
Comcast (including FreeWheel, Beeswax, NBCUniversal (Publisher), Fandango, and Publisher / Ad Tech Provider
Xfinity (Publisher))


                                                          Page 3 of 18
        Case 4:20-cv-00957-SDJ                Document 688-2         Filed 11/25/24    Page 214 of 228 PageID
                             HIGHLY CONFIDENTIAL –#:SUBJECT
                                                      31473 TO PROTECTIVE ORDER

                                                        APPENDIX I

                                                  NO CONTACT LIST
                                                 AS OF AUGUST 15, 2023


                                     Entity                                                     Type of Entity
Commonwealth Publishing Company, Inc.                                         Publisher
comScore Media Measurement                                                    Ad Tech Provider
CondeNast                                                                     Publisher
Connecticut Department Of Transportation                                      State Agency
Connecticut, State of                                                         State / Territory
Consumable                                                                    Ad Tech Provider
Consumer Financial Protection Bureau                                          Federal Agency
ContextLogic Inc.                                                             Advertiser
Criteo (including BidSwitch, Iponweb, and MediaGrid)                          Ad Tech Provider
Crosby Marketing                                                              Ad Agency
Custom Ink                                                                    Advertiser
CVP Corp. (f/k/a Atlas Research) OR Customer Value Partners, Inc.             Ad Agency
CVS Health Corp.                                                              Publisher
Daily Beast, The                                                              Publisher
Dallas Morning News, The                                                      Publisher
Daniel J. Edelman, Inc. (d/b/a Edelman)                                       Ad Agency
Deloitte                                                                      Ad Agency
Delta Air Lines, Inc.                                                         Advertiser
Delta Press Publishing Company, Inc.                                          Publisher
Delta-Democrat Publishing Company                                             Publisher
Demas, Bill (former Chief Executive Officer of Turn)                          Ad Tech Provider
Denton Media Company / Denton Record Chronicle                                Publisher
Dentsu                                                                        Ad Agency
Departamento de Educación de Puerto Rico                                      State Agency
Department of Defense (including U.S. Air Force, U.S. Army, and U.S. Navy)    Federal Agency
Devaney, Michael                                                              Advertiser
Diffie, Whitfield                                                             Other
Digg.com                                                                      Publisher
Digital Advertising Alliance                                                  Industry Trade Organization / Trade Association
Digital Content Next                                                          Industry Trade Organization / Trade Association
Digital Turbine (including AdColony and Fyber (SSP Mobile/In-app))            Ad Tech Provider
District Communications Group, LLC, The                                       Ad Agency
Dot Dash                                                                      Advertiser
DoubleVerify                                                                  Ad Tech Provider


                                                           Page 4 of 18
        Case 4:20-cv-00957-SDJ               Document 688-2      Filed 11/25/24    Page 215 of 228 PageID
                            HIGHLY CONFIDENTIAL –#:SUBJECT
                                                     31474 TO PROTECTIVE ORDER

                                                      APPENDIX I

                                                 NO CONTACT LIST
                                                AS OF AUGUST 15, 2023


                                    Entity                                                  Type of Entity
Dow Jones & Company, Inc.                                                 Publisher
Dr. Pepper Snapple Group                                                  Advertiser
Drug Enforcement Administration (DEA)                                     Advertiser
DuckDuckGo                                                                Other
Duty First Consulting LLC                                                 Ad Agency
Eagle Printing Company                                                    Publisher
Eastern Kentucky University                                               State Agency
eBay                                                                      Publisher
ECENT Corporation                                                         Publisher
Elevation, Ltd.                                                           Ad Agency
Emmerich Newspapers, Incorporated                                         Publisher
Enterprise-Tocsin, Inc.                                                   Publisher
E-Planning (ePlanning)                                                    Ad Tech Provider
Epom                                                                      Ad Tech Provider
Epsilon                                                                   Ad Tech Provider
Equativ (including Smart AdServer, DynAdmic, and LiquidM)                 Ad Tech Provider
Etsy, Inc.                                                                Publisher
Evadav                                                                    Ad Tech Provider
Exeter Government Services                                                Ad Agency
Experian                                                                  Ad Tech Provider
Eyeo (including Trestle)                                                  Other
Ezoic                                                                     Ad Tech Provider
FanDuel 93.7                                                              Advertiser
Fannie Mae (Federal National Mortgage Association)                        Federal Agency
Farber, David                                                             Other
Federal Bureau of Investigation (FBI)                                     Advertiser
Federal Bureau of Prisons (FBP)                                           Advertiser
Federal Trade Commission                                                  Federal Agency
Fifty-Five                                                                GMP-certified partner
First Amendment Coalition                                                 Industry Trade Organization / Trade Association
Fischer, Addison                                                          Other
Flag Publications, Inc.                                                   Publisher
Fleishman Hillard                                                         Ad Agency
Florida Department Of Agriculture & Consumer Services                     State Agency


                                                        Page 5 of 18
        Case 4:20-cv-00957-SDJ                 Document 688-2       Filed 11/25/24    Page 216 of 228 PageID
                              HIGHLY CONFIDENTIAL –#:SUBJECT
                                                       31475 TO PROTECTIVE ORDER

                                                         APPENDIX I

                                                   NO CONTACT LIST
                                                  AS OF AUGUST 15, 2023


                                      Entity                                                   Type of Entity
Florida Department Of Corrections                                            State Agency
Florida Department of Economic Opportunity                                   State Agency
Florida Department Of Education                                              State Agency
Florida Department Of Environmental Protection                               State Agency
Florida Department Of State                                                  State Agency
Florida Department Of Transportation                                         State Agency
Florida Fish & Wildlife Conservation Commission                              State Agency
Florida, State of                                                            State / Territory
Fors Marsh Group                                                             Ad Agency
Fox Corporation                                                              Publisher
Franklinton Publishing Co., Inc.                                             Publisher
Future of Privacy Forum                                                      Industry Trade Organization / Trade Association
Gale Force Media, LLC                                                        Publisher
Gannett Co., Inc.                                                            Publisher
General Motors                                                               Advertiser
Genius Media Group, Inc.                                                     Publisher
Gould Enterprises, Inc.                                                      Publisher
Grenada Star, Inc.                                                           Publisher
Guardian, The                                                                Publisher
GumGum                                                                       Ad Tech Provider
Hanson Law Firm, PC                                                          Advertiser
Hattiesburg Publishing, Inc.                                                 Publisher
Havas Media                                                                  Ad Agency
HD Media Company, LLC                                                        Publisher
Hearst Communications, Inc. (including the Houston Chronicle)                Publisher
Hilton Worldwide Holdings, Inc.                                              Advertiser
Hispanic Communications Network (HCN)                                        Ad Agency
Holt, Rush                                                                   Other
Horizon Media                                                                Ad Agency
I LOVE NY                                                                    State Agency
IAB Tech Lab                                                                 Industry Trade Organization / Trade Association
IAC (including Ask Media Group (ad agency))                                  Publisher
IBM (owner of The Weather Company)                                           Publisher
Idaho Department Of Health & Welfare                                         State Agency


                                                           Page 6 of 18
        Case 4:20-cv-00957-SDJ                Document 688-2        Filed 11/25/24        Page 217 of 228 PageID
                             HIGHLY CONFIDENTIAL –#:SUBJECT
                                                      31476 TO PROTECTIVE ORDER

                                                        APPENDIX I

                                                  NO CONTACT LIST
                                                 AS OF AUGUST 15, 2023


                                     Entity                                                       Type of Entity
Idaho Office Of Drug Policy                                                     State Agency
Idaho Transportation Department                                                 State Agency
Idaho, State of                                                                 State / Territory
Illinois Department Of Commerce & Economic Opportunity                          State Agency
Illinois, State of                                                              State / Territory
Imgur, Inc.                                                                     Publisher
Incubeta                                                                        Reseller
IndexExchange                                                                   Ad Tech Provider
Indiana Department Of Veterans' Affairs                                         State Agency
Indiana Municipal Power Agency                                                  State Agency
Indiana University                                                              State Agency
Indiana, State of                                                               State / Territory
InfoLinks                                                                       Ad Tech Provider
Inform, Inc.                                                                    Publisher
Inmar                                                                           Ad Agency
Innovid                                                                         Publisher Ad Server; Reseller
Inskin                                                                          Publisher
Inspire Brands                                                                  Advertiser
Instacart                                                                       Publisher
Instapundit.com                                                                 Ad Agency
Integral Ad Science                                                             Ad Tech Provider
Inter American Press Association                                                Industry Trade Organization / Trade Association
Internet Brands, Inc. (owner of PulsePoint (SSP) and WebMD Health Corp.         Publisher / Advertiser
(Publisher))
IPG (The Interpublic Group of Companies, Inc.) (including IPG DXTRA, Inc. d/b/a Ad Agency
Weber Shandwick; IW Group Inc.; McCann-Erickson USA, Inc.; Universal McCann
Worldwide, LLC)
J.O. Emmerich & Associates, Inc.                                                Publisher
J.R. Reingold & Associates, Inc. (d/b/a Reingold, Inc.)                         Ad Agency
Jacob's Eye                                                                     Ad Agency
Jellyfish                                                                       Reseller
JLaSalle Enterprises LLC                                                        Publisher
Johnson & Johnson                                                               Advertiser
Jonathan Kanter                                                                 Individual


                                                           Page 7 of 18
        Case 4:20-cv-00957-SDJ              Document 688-2      Filed 11/25/24    Page 218 of 228 PageID
                            HIGHLY CONFIDENTIAL –#:SUBJECT
                                                     31477 TO PROTECTIVE ORDER

                                                     APPENDIX I

                                                  NO CONTACT LIST
                                                 AS OF AUGUST 15, 2023


                                   Entity                                                  Type of Entity
Journal, Inc.                                                            Publisher
JumpFly                                                                  Ad Agency
Kantar Group (majority owned by Bain)                                    Ad Tech Provider
Kanter LLC                                                               Ad Agency
Kargo Global, Inc. (including StitcherAds)                               Ad Tech Provider
Kentucky Cabinet for Public Health                                       State Agency
Kentucky Community & Technical College System                            State Agency
Kentucky Tourism, Arts, and Heritage Cabinet                             State Agency
Kentucky, Commonwealth of                                                State / Territory
Kevel f/k/a AdZerk                                                       Ad Tech Provider
Kinin, Inc.                                                              Advertiser
Klonick, Kate                                                            Other
Kohl's Corp.                                                             Advertiser
Kosciusko Star-Herald, Inc.                                              Publisher
Kranzler Kingsley Communications Ltd.                                    Ad Agency
LA Times                                                                 Publisher
Lewis, Harry                                                             Other
LG Electronics                                                           Advertiser
Liberty Mutual                                                           Advertiser
Liftable Media                                                           Publisher
Liftoff (including information re Vungle)                                Ad Tech Provider
LinkedIn                                                                 Ad Tech Provider
LiveNation Entertainment Inc                                             Advertiser
LMI (Logistics Management Institute)                                     Federal Contractor
Long & Foster Real Estate Companies                                      Advertiser
Louisiana Dept of Children and Family Services                           State Agency
Louisiana Office of Tourism                                              State Agency
Louisiana State University                                               State Agency
Louisiana, State of                                                      State / Territory
Louisville Publishing, Inc.                                              Publisher
Lowe's Companies, Inc.                                                   Advertiser
LVMH                                                                     Advertiser
Macy's Inc.                                                              Publisher / Advertiser
MadAds Media                                                             Ad Tech Provider


                                                       Page 8 of 18
        Case 4:20-cv-00957-SDJ                Document 688-2        Filed 11/25/24         Page 219 of 228 PageID
                             HIGHLY CONFIDENTIAL –#:SUBJECT
                                                      31478 TO PROTECTIVE ORDER

                                                        APPENDIX I

                                                  NO CONTACT LIST
                                                 AS OF AUGUST 15, 2023


                                     Entity                                                          Type of Entity
Magnite (including Rubicon Project, Telaria, Carbon, SpotX, RTK Header Bidding,   Ad Tech Provider
and SpringServe (ad server))
Mail Media, Inc. (Daily Mail)                                                     Publisher
Major League Baseball                                                             Publisher
Marin                                                                             Ad Tech Provider
Marion Publishing Company                                                         Publisher
Mars, Inc.                                                                        Advertiser
Marx, Gary                                                                        Other
Match Group                                                                       Advertiser
McClatchy Company, The                                                            Publisher
McNamee, Roger                                                                    Other
MDC Partners (Stagwell, Inc.)                                                     Ad Agency
Media Institute, The                                                              Other
Media.Monks                                                                       Reseller
Media.net                                                                         Ad Tech Provider
MediaMath, Inc.                                                                   Ad Tech Provider
Mediavine                                                                         Publisher
Merck                                                                             Advertiser
Meredith Corp.                                                                    Publisher
Merkle                                                                            Reseller
Meta Platforms, Inc. (f/k/a Facebook Inc.)                                        Ad Tech Provider
Michigan Department of Labor and Economic Opportunity                             State Agency
Michigan, State of                                                                State / Territory
Microsoft (including Xandr, MSN (Publisher), LinkedIn, Tapad, and Drawbridge)     Ad Tech Provider
Mighty Hive                                                                       GMP-certified partner
Mikula Web Solutions, Inc.                                                        Publisher
Mindshare USA, LLC                                                                Ad Agency
Minnesota Department Of Health                                                    State Agency
Minnesota, State of                                                               State / Territory
Mint Rose Day Spa LLC                                                             Advertiser
MIQ Digital USA Inc.                                                              Ad Agency
Mississippi Department Of Public Safety                                           State Agency
Mississippi Development Authority                                                 State Agency
Mississippi State University                                                      State Agency


                                                           Page 9 of 18
        Case 4:20-cv-00957-SDJ               Document 688-2       Filed 11/25/24    Page 220 of 228 PageID
                            HIGHLY CONFIDENTIAL –#:SUBJECT
                                                     31479 TO PROTECTIVE ORDER

                                                      APPENDIX I

                                                 NO CONTACT LIST
                                                AS OF AUGUST 15, 2023


                                    Entity                                                   Type of Entity
Mississippi, State of                                                      State / Territory
Missouri Department Of Transportation                                      State Agency
Missouri Division of Tourism                                               State Agency
Missouri, State of                                                         State / Territory
MLex                                                                       Publisher
Monster Government Solutions Inc.                                          Ad Agency
Montana Office of Tourism                                                  State Agency
Montana State University                                                   State Agency
Montana, State of                                                          State / Territory
Montgomery Publishing Co., Inc.                                            Publisher
Monumetric                                                                 Ad Tech Provider
Mother Jones                                                               Publisher
Motley Fool                                                                Publisher
Mozilla                                                                    Other
Multi Media Channels LLC                                                   Publisher
Nation Company, L.P., The                                                  Publisher
National Aeronautics and Space Administration                              Federal Agency
National Football League                                                   Publisher
National Freedom of Information Coalition                                  Other
National Highway Traffic Safety Admininistration                           Federal Agency
National Press Photographers Association                                   Industry Trade Organization / Trade Association
Navy Federal Credit Union                                                  Advertiser
Nebraska Department Of Transportation                                      State Agency
Nebraska, State of                                                         State / Territory
Neeva                                                                      Advertiser
Negron, Kimberly                                                           Advertiser
Neighborhood Newspapers, Inc.                                              Publisher
Nestle                                                                     Advertiser
Netflix                                                                    Publisher
Network Advertising Initiative                                             Industry Trade Organization / Trade Association
Nevada Department of Health & Human Services [Voluntary Production]        State Agency
Nevada Department Of Motor Vehicles                                        State Agency
Nevada Department of Tourism & Cultural Affairs                            State Agency
Nevada Silver State Health Insurance Exchange                              State Agency


                                                        Page 10 of 18
        Case 4:20-cv-00957-SDJ               Document 688-2        Filed 11/25/24       Page 221 of 228 PageID
                             HIGHLY CONFIDENTIAL –#:SUBJECT
                                                      31480 TO PROTECTIVE ORDER

                                                       APPENDIX I

                                                 NO CONTACT LIST
                                                AS OF AUGUST 15, 2023


                                    Entity                                                      Type of Entity
Nevada State Treaurer                                                        State Agency
Nevada, State of                                                             State / Territory
New Hampshire Department of Natural & Cultural Resources                     State Agency
New Hampshire, State of                                                      State / Territory
New Jersey Department Of Health & Senior Services                            State Agency
New Jersey, State of                                                         State / Territory
New York State Energy Research & Development Authority                       State Agency
New York Times Company, The                                                  Publisher
New York, State of                                                           State / Territory
News Corp.                                                                   Publisher
News Leaders Association, The                                                Other
News Media Alliance                                                          Industry Trade Organization / Trade Association
News Media Association                                                       Industry Trade Organization / Trade Association
Newton County Appeal Inc.                                                    Publisher
Nexstar                                                                      Publisher
Nexstar Media Group, Inc.                                                    Publisher
NextRoll (including AdRoll)                                                  Ad Tech Provider
Nielsen Holdings                                                             Ad Tech Provider
Nike                                                                         Advertiser
Nobid                                                                        Ad Tech Provider
North Carolina Department Of Health & Human Services                         State Agency
North Carolina, State of                                                     State / Territory
North Dakota Department Of Health (aka North Dakota Department of Health and State Agency
Human Services)
North Dakota Department of Human Services                                    State Agency
North Dakota, State of                                                       State / Territory
North Texas Tollway Authority                                                State Agency
Northrup Grunman                                                             Advertiser
NVR, Inc.                                                                    Advertiser
O’Kelley, Brian (former Chief Executive Officer of AppNexus)                 Ad Tech Provider
Omnicom Group, Inc. (including DDB Chicago, Inc., Team DDB, GMMB, GSD&M Ad Agency
LLC, Ketchum, Inc., OMD Worldwide, and Porter Novelli Inc.)
OneMobile                                                                    Ad Tech Provider
OpenX Technologies, Inc.                                                     Ad Tech Provider


                                                         Page 11 of 18
        Case 4:20-cv-00957-SDJ                 Document 688-2         Filed 11/25/24        Page 222 of 228 PageID
                              HIGHLY CONFIDENTIAL –#:SUBJECT
                                                       31481 TO PROTECTIVE ORDER

                                                          APPENDIX I

                                                   NO CONTACT LIST
                                                  AS OF AUGUST 15, 2023


                                      Entity                                                           Type of Entity
Oracle (including Moat)                                                            Ad Tech Provider
Organic Panaceas, LLC                                                              Advertiser
Outbrain (including Zemanta (DSP) and AdNgin (Ad Server))                          Ad Tech Provider
Pandora (Sirius XM Radio Inc.)                                                     Publisher
Paramount Global (including CBS, Audacy Radio (owned by CBS), Viacom)              Publisher
PBS                                                                                Publisher
Peace Corps                                                                        Advertiser
Peel, Deborah C.                                                                   Other
Penske Media Corp.                                                                 Publisher
PepsiCo                                                                            Advertiser
Pinger                                                                             Publisher
Pinterest, Inc.                                                                    Ad Tech Provider
POLITICO LLC                                                                       Publisher
PopAds                                                                             Ad Tech Provider
PopCash                                                                            Ad Network
Prebid Header Bidding                                                              Ad Tech Provider
Prevention Magazine                                                                Publisher
Proctor & Gamble                                                                   Advertiser
Progressive Insurance                                                              Advertiser
Progressive, Inc., The                                                             Publisher
PropellerAds                                                                       Ad Tech Provider
Publica                                                                            Ad Tech Provider
Publicis Groupe, The (including Epsilon, Conversant, Publicis North America, and   Ad Agency
Publicis Media, Inc.)
PubMatic, Inc.                                                                     Ad Tech Provider
Puerto Rico Department of Labor and Human Resources                                State Agency
Puerto Rico Tourism Company                                                        State Agency
Puerto Rico, Commonwealth of                                                       State / Territory
Qualcomm                                                                           Advertiser
Quantcast                                                                          Ad Tech Provider
Raintree Medical And Chiropractic Center LLC                                       Advertiser
Reddit                                                                             Publisher
Rent-A-Center                                                                      Advertiser
Reporters Committee for Freedom of the Press, The                                  Other


                                                            Page 12 of 18
        Case 4:20-cv-00957-SDJ              Document 688-2        Filed 11/25/24    Page 223 of 228 PageID
                            HIGHLY CONFIDENTIAL –#:SUBJECT
                                                     31482 TO PROTECTIVE ORDER

                                                      APPENDIX I

                                                NO CONTACT LIST
                                               AS OF AUGUST 15, 2023


                                   Entity                                                   Type of Entity
Reuters News & Media Inc.                                                  Publisher
RevContent                                                                 Ad Tech Provider
Revive                                                                     Ad Tech Provider
Rhode Island Department Of Health                                          State Agency
Rhode Island, State of                                                     State / Territory
Richter 7 Inc.                                                             Ad Agency
Robinson Communications Inc                                                Publisher
Rodrock Chiropractic Pa                                                    Advertiser
Roku, Inc. (including DataXu (DSP))                                        Ad Tech Provider
Rome News Media, LLC                                                       Publisher
Rutgers, The State University of New Jersey                                State Agency
Samsung Electronics America, Inc. (including Samsung NEXT, LLC)            Advertiser
Savannah Publishing Co., Inc.                                              Publisher
SC Department of Social Services                                           State Agency
Schneier, Bruce                                                            Other
Scott Publishing, Inc.                                                     Publisher
Search Discovery                                                           GMP-certified partner
Sharethrough Inc. (including DistrictM)                                    Ad Tech Provider
SHE Media                                                                  Ad Tech Provider
Simpson Publishing Co., Inc.                                               Publisher
Singh, Sunny                                                               Advertiser
Skechers                                                                   Advertiser
Skimlinks                                                                  Ad Tech Provider
SkinnySchool LLC d/b/a Maria Marques Fitness                               Advertiser
Smartly.io                                                                 Reseller
Smithsonian Institution                                                    Advertiser
Snap, Inc.                                                                 Ad Tech Provider
Society of Professional Journalists                                        Other
Something Extra Publishing, Inc.                                           Publisher
Sonobi                                                                     Ad Tech Provider
Sortable / Freestar                                                        Ad Tech Provider
South Carolina Department of Parks, Recreation, and Tourism                State Agency
South Carolina, State of                                                   State / Territory
South Dakota Department of Education                                       State Agency


                                                        Page 13 of 18
        Case 4:20-cv-00957-SDJ               Document 688-2       Filed 11/25/24    Page 224 of 228 PageID
                             HIGHLY CONFIDENTIAL –#:SUBJECT
                                                      31483 TO PROTECTIVE ORDER

                                                       APPENDIX I

                                                 NO CONTACT LIST
                                                AS OF AUGUST 15, 2023


                                    Entity                                                     Type of Entity
South Dakota Department Of Human Services                                  State Agency
South Dakota State University                                              State Agency
South Dakota, State of                                                     State / Territory
Southern Arkansas University                                               State Agency
Southern Community Newspapers, Inc.                                        Publisher
Southern Utah University                                                   State Agency
Sovrn Holdings, Inc.                                                       Ad Tech Provider
Spotify                                                                    Publisher
SPX Total Body Fitness LLC                                                 Advertiser
StackAdapt                                                                 Ad Tech Provider
Starbucks                                                                  Advertiser
State Farm                                                                 Advertiser
State University Of New York                                               State Agency
Static Media                                                               Publisher
Stellman, Michael                                                          Advertiser
Sterling International Consulting Group                                    Publisher
Stratacomm LLC                                                             Ad Agency
Strava                                                                     Publisher
Sunland Publishing Company, Inc.                                           Publisher
Surefreight Global LLC                                                     Advertiser
Susan Athey                                                                Individual
Sweepstakes Today, LLC                                                     Publisher
T. Rowe Price                                                              Advertiser
Taboola                                                                    Ad Tech Provider
Tallulah Publishing, Inc.                                                  Publisher
Target Corporation                                                         Publisher
Tate Record, Inc.                                                          Publisher
Teads                                                                      Ad Tech Provider
Tennessee Highway Safety Office                                            State Agency
Tennessee, State of                                                        State / Territory
Tennis.com                                                                 Publisher
Texas A&M University                                                       State Agency
Texas Department of Information Resources, The (DIR)                       State Agency
Texas Department Of Motor Vehicles                                         State Agency


                                                        Page 14 of 18
        Case 4:20-cv-00957-SDJ                Document 688-2        Filed 11/25/24    Page 225 of 228 PageID
                             HIGHLY CONFIDENTIAL –#:SUBJECT
                                                      31484 TO PROTECTIVE ORDER

                                                       APPENDIX I

                                                  NO CONTACT LIST
                                                 AS OF AUGUST 15, 2023


                                     Entity                                                      Type of Entity
Texas Department Of Transportation                                           State Agency
Texas General Land Office, The                                               State Agency
Texas Office of the Governor, Economic Development & Tourism                 State Agency
Texas, State of                                                              State / Territory
The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF)                Advertiser
The Goodway Group                                                            Ad Agency
TIAA                                                                         Advertiser
Ticketmaster                                                                 Publisher
Tiktok                                                                       Ad Tech Provider
Timehop (creator of Nimbus)                                                  Ad Tech Provider
Times Journal, Inc.                                                          Publisher
Tinuiti                                                                      Ad Agency
Trade Desk, Inc., The                                                        Ad Tech Provider
Tremor International Ltd. (including RhythmOne/Unruly (SSP), Unruly Group    Ad Tech Provider
Limited, Amobee, Inc., Tremor Video, and Spearad GmbH)
Trilogy Federal, LLC                                                         Ad Agency
TripAdvisor                                                                  Publisher / Advertiser
Triple Lift, Inc.                                                            Ad Tech Provider
Trustworthy Accountability Group                                             Industry Trade Organization / Trade Association
Tully Center for Free Speech                                                 Other
Turkle, Sherry                                                               Other
Turn                                                                         Ad Tech Provider
TWC Product & Tech                                                           Publisher
Twitch                                                                       Publisher
Twitter, Inc.                                                                Ad Tech Provider
U.S. Air Force                                                               Federal Agency
U.S. Army                                                                    Federal Agency
U.S. Census Bureau                                                           Federal Agency
U.S. Department of Agriculture                                               Federal Agency
U.S. Department of Defense                                                   Federal Agency
U.S. Department of Education                                                 Federal Agency
U.S. Department of Energy                                                    Federal Agency
U.S. Department of Health and Human Services                                 Federal Agency
U.S. Department of Homeland Security                                         Federal Agency


                                                         Page 15 of 18
         Case 4:20-cv-00957-SDJ                  Document 688-2          Filed 11/25/24       Page 226 of 228 PageID
                               HIGHLY CONFIDENTIAL –#:SUBJECT
                                                        31485 TO PROTECTIVE ORDER

                                                            APPENDIX I

                                                     NO CONTACT LIST
                                                    AS OF AUGUST 15, 2023


                                        Entity                                                           Type of Entity
U.S. Department of Housing and Urban Development                                      Federal Agency
U.S. Department of Interior                                                           Federal Agency
U.S. Department of Labor                                                              Federal Agency
U.S. Department of State                                                              Federal Agency
U.S. Department of Transportation                                                     Federal Agency
U.S. Department of Treasury                                                           Federal Agency
U.S. Department of Veterans Affairs                                                   Federal Agency
U.S. General Services Administration                                                  Federal Agency
U.S. Navy                                                                             Federal Agency
U.S. Postal Service                                                                   Federal Agency
Unilever                                                                              Advertiser
Union City Daily Messenger, Inc.                                                      Publisher
United States of America                                                              US Government
United States Social Security Administration                                          Federal Agency
Unity (including ironSource)                                                          Ad Tech Provider
Universidad de Puerto Rico                                                            State Agency
University of Alaska                                                                  State Agency
University Of Arkansas                                                                State Agency
University Of California                                                              State Agency
University Of Connecticut School Of Law                                               State Agency
University of Florida (including Florida Institute of Food & Agricultural Sciences)   State Agency
University Of Idaho                                                                   State Agency
University Of Illinois System                                                         State Agency
University Of Minnesota                                                               State Agency
University Of Missouri                                                                State Agency
University Of Montana, The                                                            State Agency
University Of Nebraska Omaha                                                          State Agency
University Of Nevada                                                                  State Agency
University Of North Carolina At Chapel Hill                                           State Agency
University Of North Dakota                                                            State Agency
University Of Rhode Island                                                            State Agency
University Of South Carolina                                                          State Agency
University Of South Dakota                                                            State Agency
University Of Tennessee, The                                                          State Agency


                                                              Page 16 of 18
        Case 4:20-cv-00957-SDJ                Document 688-2        Filed 11/25/24      Page 227 of 228 PageID
                             HIGHLY CONFIDENTIAL –#:SUBJECT
                                                      31486 TO PROTECTIVE ORDER

                                                       APPENDIX I

                                                  NO CONTACT LIST
                                                 AS OF AUGUST 15, 2023


                                     Entity                                                        Type of Entity
University Of Texas, The                                                       State Agency
University Of Virginia, The                                                    State Agency
University Of Washington                                                       State Agency
University System Of New Hampshire                                             State Agency
Univision                                                                      Publisher
URX                                                                            Ad Tech Provider
US Trade and Development Agency                                                Advertiser
Utah Department Of Health                                                      State Agency
Utah Office of Tourism                                                         State Agency
Utah, State of                                                                 State / Territory
Verizon                                                                        Ad Tech Provider
Verizon Communications
Verve Group, The (including Smaato and AppMonet)                               Ad Tech Provider
Viant Technology (including Adelphic Mobile)                                   Ad Tech Provider
Vimeo                                                                          Publisher
Virginia Department For Aging & Rehabilitative Services                        State Agency
Virginia, Commonwealth of                                                      State / Territory
Vitor Lindo                                                                    Advertiser
Vixie, Paul                                                                    Other
Vox Media, Inc. (Concert by Vox)                                               Ad Tech Provider
Walmart Inc.                                                                   Publisher
Walt Disney Company, The (including Hulu, ABC, and ESPN)                       Publisher
Warner Bros. Discovery (including CNN, Zedo (SSP), and Turner Entertainment)   Publisher / Ad Tech Provider
Washington Post, The (Nash Holdings LLC)                                       Publisher
Washington State Department Of Health                                          State Agency
Washington, State of                                                           State / Territory
Wayfair, Inc.                                                                  Advertiser
Weakley County Press, Inc                                                      Publisher
Wells Fargo                                                                    Advertiser
West Virginia Department Of Commerce                                           State Agency
West Virginia University                                                       State Agency
West Virginia, State of                                                        State / Territory
Western Nevada College                                                         State Agency
WNET                                                                           Publisher


                                                         Page 17 of 18
       Case 4:20-cv-00957-SDJ            Document 688-2      Filed 11/25/24    Page 228 of 228 PageID
                          HIGHLY CONFIDENTIAL –#:SUBJECT
                                                   31487 TO PROTECTIVE ORDER

                                                 APPENDIX I

                                             NO CONTACT LIST
                                            AS OF AUGUST 15, 2023


                                Entity                                                    Type of Entity
Wordpress (owned by Automattic; including OiO Publisher (ad server))   Publisher
WPP (including GroupM Worldwide LLC, VMLY&R, Wavemaker, and Young &    Ad Agency
Rubicam Inc.)
Yahoo Inc.                                                             Ad Tech Provider
Yazoo Newspaper Co., Inc.                                              Publisher
Yberra, Sara                                                           Advertiser
Yelp Inc.                                                              Publisher
Yieldmo, Inc.                                                          Ad Tech Provider
ylliX                                                                  Ad Tech Provider
Zedo, Inc.                                                             Ad Tech Provider
Zeta Global (Zeta Interactive)                                         Ad Tech Provider
Zuboff, Shoshana                                                       Other
Zynga (Take-Two Interactive; including Chartboost)                     Other




                                                   Page 18 of 18
